                UNITED STATES BANKRUPTCY COURT
          FOR THE EASTERN DISTRICT OF MICHIGAN (DETROIT)

In Re:

Dailey Law Firm PC                  Case No. 23-45970-mlo
                                    Chapter 11
       Debtor.                      Hon. Maria L. Oxholm
__________________________________________________________________/

  MOTION AND INCORPORATED BRIEF IN SUPPORT BY COURT
APPOINTED RECEIVER JOHN POLDERMAN, ESQ. (i) TO DISMISS OR
 SUSPEND THE BANKRUPTCY CASE, UNDER SECTIONS 1112(b) or
 305(a) OF THE BANKRUPTCY CODE; OR (ii) EXCUSE TURNOVER
       UNDER SECTION 543(d) OF THE BANKRUPTCY CODE

         John Polderman, Esq., as pre-petition Receiver of the assets of Dailey Law

Firm PC (“DLF” or “Debtor”) (the “Receiver”), by and through the undersigned

counsel, hereby moves (the "Motion") this Court pursuant to sections 1112(b),

305(a), and 543(c) and (d) of title 11 of the United States Code (11 U.S.C. §§ 101 et

seq.) ("the Bankruptcy Code") for (i) an order dismissing this case ("the Case") under

Bankruptcy Code § 1112(b) based on lack of good faith and for cause shown; and/or

(ii) an order dismissing or suspending the proceedings in this Case under Bankruptcy

Code § 305(a), as the interests of the creditors and debtor would be better served by

dismissal or suspension; or in the alternative, (iii) an order (a) excusing the Receiver

from complying with any turnover under Bankruptcy Code § 543(d), and/or (b)

protecting the property held by the Receiver and for payment of the Receiver's

reasonable costs and expenses under Bankruptcy Code § 543 (c).
                                            1


23-45970-mlo      Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 1 of 205
                        PRELIMINARY STATEMENT

   This Case is a classic example of a chapter 11 filed in bad faith for the improper

purpose of halting an ongoing state court action where:


   • Debtor has only one asset of value – accounts receivable;
   • Debtor’s schedule of largest unsecured creditors consists chiefly of former
     clients and third parties who have asserted claims of fraud, defalcation or
     mishandling of their funds (“Defrauded Parties”);

   • Debtor has one secured creditor;

   • Debtor filed this Case shortly after the state court demanded turnover of
     funds that were to be held in trust and appointed the Receiver;

   • The essential controversy here is a two party dispute between Debtor,
     on the one hand, and the Defrauded Parties on the other hand, over
     payment of settlement proceeds, and Debtor’s efforts to use this Court
     to avoid compliance with state court orders;

   • Debtor engaged in substantial pre-petition misconduct and its principal
     and manager is the subject of a pending complaint from the State Bar of
     Michigan; and

   • Debtor has habitually failed to file tax returns or remit trust fund taxes
     to the appropriate taxing authorities.

     As set forth below, the Debtor's chapter 11 case was filed for the sole purpose
of delaying the pending interpleader action in the Wayne County Circuit Court
(“State Court”), frustrating the receivership in that proceeding, and ultimately,
subverting the orders of the State Court. It is beyond peradventure that the use of
the bankruptcy process for these purposes is improper. Even if the Court were to
excuse these extreme deficiencies, however, abstention is warranted under 11

                                          2


23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 2 of 205
U.S.C. § 305. The matter involves an interpleader action currently being litigated
in the State Court and which involves issues of state law. That is the proper forum
to determine property rights and DLF’s actions as a fiduciary (or lack thereof)
rather than this Court.
      In the alternative, the Receiver is entitled to relief under Bankruptcy Code §
543(d), because leaving the Debtor's assets in the hands of the Receiver is in the
best interests of the creditors - as opposed to the conflicted interests of Debtor, who
holds claims against its manager and shareholder, and have shown a penchant to
disregard basic fiduciary duties.
               FACTUAL AND PROCEDURAL BACKGROUND
                   The Wayne County Circuit Court Case

      1.    The Receiver was appointed over the assets of the Debtor as well as the

owner and sole shareholder of the Debtor, Brian Dailey (See Exhibit A, Order

Appointing Receiver).

      2.    The Receiver’s appointment arose out of an interpleader action filed in

the Wayne County Circuit Court in 2021 (See Exhibit B, Complaint).

      3.    The Dailey Law Firm claimed to be holding no-fault insurance and

disability proceeds in the amount of $166,135.40 in its client trust account for

payment to various medical providers.

      4.    However, as the initial settlement amount was $600,000, the

interpleader defendants asked for an accounting of the settlement proceeds.

      5.    The initial accounting from The Dailey Law Firm revealed a number
                                           3


23-45970-mlo    Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 3 of 205
of problems (See Exhibit C, Debtor’s Accounting):

         a. Under relevant personal injury protection law, Brian Dailey and the

            Dailey Law Firm cannot take a 1/3 fee on amounts the insurer

            voluntarily pays to providers. Thus, the Dailey Law Firm’s fees should

            have been calculated by taking the $600,000, subtracting $2,404.68 in

            case expenses (unproven but plausible) and taking 33% of the rest.

            That would have been $199,198.44 in fees + $2,404.68 in expenses =

            $201,603.12 to the Debtor.

         b. Instead, the Debtor calculated its fee based on an extra $97,146.45 that

            was never paid by the insurer-- an extra $32,382.15. This is wrong.

         c. Next, the Debtor allegedly paid two of the medical providers $51,500

            but ignored all the other providers. Normally, if there isn’t going to be

            enough to pay all providers there is a motion filed under MCL

            500.3112 to have the trial court allocate the settlement among the

            providers, the attorney, and the client. Brian Dailey and the Debtor

            didn’t do this.

         d. Next, instead of paying the providers (so as to protect the client from

            collections), he paid himself for alleged litigation over a disability

            insurance dispute. Brian Dailey claimed to have had $11,000 in

            expenses (not documented) and paid himself that plus $148,379.33 for

                                          4


23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 4 of 205
             a total payment of $159,379.33. But his fee, if warranted at all, was

             not calculated correctly. He paid himself 1/3 of the present value of all

             his client’s future disability payments. But those payments were

             reduced when his client received Social Security Disability, and

             pursuant to applicable law (42 USC 406, Section 206(a)(1)), he can’t

             take more than a $7,200 fee on getting such benefits (if he had anything

             to do with that at all).

           e. In sum, Brian Dailey and the Debtor paid themselves too much and

             they took it from a fund that was only there because they didn’t pay the

             providers as they should have.

      6.     After numerous machinations, the Wayne County Circuit Court

ordered the Debtor to pay pack the $600,000 settlement and the funds to be placed

in escrow (See Exhibit D, Order).

      7.     Brian Dailey and The Dailey Law Firm refused to return the $600,000,

and claimed that at most, only $155,000 of the original $600,000 existed in the

IOLTA trust account (See Exhibit E, Hearing Transcript).

      8.     As a result, the Wayne County Circuit Court appointed the Receiver to

investigate and recover the $600,000 in missing client funds.

      9.     After the Receiver’s appointment, Brian Dailey and the Debtor were

obligated under the Order Appointing Receiver, and relevant statutes, to promptly

                                            5


23-45970-mlo     Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 5 of 205
turn over financial information to the Receiver so as to allow the Receiver to

investigate the finances of the Debtor.

      10.    Brian Dailey and the Debtor failed and refused to do so, prompting the

Receiver to file a Verified Motion for Order To Show Cause (See Exhibit F,

Motion).

      11.    Before a hearing could be held on the contempt motion, Brian Dailey

personally filed Ch. 13 bankruptcy proceedings.

      The Additional Mishandling of Funds While Acting as A Fiduciary

      12.    Unfortunately this is not Brian Dailey and the Debtor’s first instance

of mishandling of client funds.

      13.    In 2019, The Dailey Law Firm was found liable for conversion of client

funds. This judgment was upheld on appeal (See Exhibit G, Michigan Court of

Appeals Decision).

      14.    Shortly, thereafter, numerous other clients of The Dailey Law Firm

stepped forward and raised similar, troubling, allegations about the mishandling and

misappropriation of their settlement proceeds.

      15.    As a result of these complaints, the State of Michigan, Attorney

Discipline Board has initiated a 49 page formal complaint against Brian Dailey

seeking disciplinary action against Brian Dailey (See Exhibit H, Complaint).

      16.    The allegations include 11 instances of mishandling of settlement

                                           6


23-45970-mlo    Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 6 of 205
proceeds, two instances of failure to pay wages to employees as well as a count for

failure of Brian Dailey and the Dailey Law Firm to provide documents to the State

Bar of Michigan.

      17.    These proceedings are ongoing, with testimony being provided by

various injured parties. The most recent hearing is set for August 8, 2023 (See

Exhibit I, Hearing Subpoena).

      18.    Based on the foregoing allegations, as well as his actions in the Wayne

County Circuit Court case, Brian Dailey and the Dailey Law Firm have engaged in

a pattern of dishonesty, fraud and deceit.

      19.    Despite conceding in the State Court interpleader action that the

interpleader Defendants are entitled to $155,000, the Debtor has failed and refused

to turn those funds over to the clerk of the State Court or the Receiver.

      20.    Accordingly, the Debtor is in active violation of the Michigan Rules of

Professional Conduct sections 1.15(c) and (d) which provide that:

             (c) When two or more persons (one of whom may be the lawyer) claim interest in
             the property, it shall be kept separate by the lawyer until the dispute is resolved.
             The lawyer shall promptly distribute all portions of the property as to which the
             interests are not in dispute.

             (d) A lawyer shall hold property of clients or third persons in connection with a
             representation separate from the lawyer’s own property. All client or third person
             funds shall be deposited in an IOLTA or non-IOLTA account. Other property shall
             be identified as such and appropriately safeguarded.

      21.    Brian Dailey and The Dailey Law Firm now seek to use, and abuse,

this Court and the bankruptcy process to cover and enable continued fraud and
                                              7


23-45970-mlo     Doc 70     Filed 08/03/23     Entered 08/03/23 09:24:00        Page 7 of 205
avoidance of the consequences of their actions in mishandling client funds.

      The Intentionally Vague Schedules Regarding Payments to Insiders and
           $1 Million Dollar Proof of Claim for Trust Fund Taxes

      22.       Debtor is obligated in its Statement of Financial Affairs to list all

payments or transfers of property to insiders. Despite this obligation, Debtor has

failed to disclose payments it has made and instead claimed that the will “amend”

the schedules at some later to be determined date (Docket No. 43, Pages 19-27):




      23.    The fact that Debtor is “reconciling” its records and has no idea what

it has transferred to its insider, Brian Dailey, and in light of its prior mishandling of

money, leads to the conclusion is that the Debtor’s accounting system is non-

existent or in shambles, or Brian Dailey simply does not want to disclose transfers

he has taken.
                                             8


23-45970-mlo      Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00    Page 8 of 205
      24.    This apparent self-dealing leaves the Debtor hopelessly compromised

and unable to fulfill its fiduciary duties to the estate, and raises issues of fraud,

dishonesty, incompetence or gross mismanagement.

      25.    These claims would ordinarily be a valuable asset of the Debtor. Yet,

through this Case, Debtor seeks to eviscerate this asset and prevent the Receiver or

creditors from pursuing same.

      26.    Debtor's conduct can be explained only by a bad faith motive: to

preserve a benefit to insiders and prevent claims against them.

      27.    Indeed, a neutral third party, such as the Receiver in the State Court

Action, is the only reasonable alternative to ensure an impartial review of the

Debtors’ finances and pre-petition conduct.

      28.    Finally, based upon the recent proof of claim filed by the Internal

Revenue Service, the Debtor has failed to properly withhold trust fund taxes due

and owing the United States. Rather these have accrued since 2014 and are

evidence of yet another breach of basic fiduciary duties of the Debtor to withhold

and remit trust fund taxes.

      29.     Given the Debtor’s misconduct in the form of: (1) conversion of client

funds; (2) failure to timely pay wages to employees and corresponding trust fund

taxes; (3) failure to properly disburse settlement proceeds subject to the claims of

third parties; (4) failure to comply with the State Bar of Michigan requests for

                                           9


23-45970-mlo    Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 9 of 205
information; (5) failure to comply with the Court Appointed Receiver; (6) failure to

comply with his ethical obligations and tender funds which are the subject of the

interpleader complaint in the State Court; (7) failure to disclose payments to himself;

and (8) charging of fees in violation of federal law, dismissal or suspension of the

case is warranted.

 I.    THIS CASE SHOULD BE DISMISSED UNDER SECTION 1112(b)
       OF THE BANKRUPTCY CODE

       26.     Bankruptcy Code § 1112(b) provides that, upon motion of any party in

interest, "the court shall convert a case under this chapter to a case under chapter 7

or dismiss a case under this chapter, whichever is in the best interests of creditors and

the estate," upon a showing of "cause." 11 U.S.C. § 1112(b).

       27.     Although Bankruptcy Code § 1112(b)(4) provides a list of certain acts

 or defaults by the debtor which amount to grounds for dismissal for "cause," "these

 examples are not exhaustive" and a case may be dismissed for any number of

 reasons, such as where: (i) it is shown that the petition was not filed in "good faith"

 (In re Charfoos, 979 F.2d 390, 392 (6th Cir. 1992)); or (ii) the petition is "solely

 designed to attack" or circumvent a judgment or order of a state court collaterally

 In re Trident Associates Ltd. P'ship, 52 F.3d 127, 131 (6th Cir. 1995).

       28.     The test for "good faith" is fact-specific and turns on the evaluation of

 multiple factors, resulting in what has been termed a "smell test." In re Zick, 931

                                           10


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00     Page 10 of 205
F.2d 1124, 1127-28 (6th Cir. 1991).

      A.       The Petition in this Case Was Filed in Bad Faith

      29.      As stated above, dismissal of a bankruptcy case is warranted where it

is shown that the petition was not filed in "good faith."

      30.      In deciding whether to dismiss a case based upon a debtor's "bad

faith," the bankruptcy court examines several factors, including whether:

      i)     the debtor has one asset;

      ii)    that asset is encumbered by liens of secured creditors;

      iii)   the pre-petition conduct of the debtor has been improper;

      iv)    there are generally no employees except for principals;

      v)     there is little or no cash flow;

      vi)    there are no available sources of income to sustain a plan of

             reorganization;

      vii) there are few if any unsecured creditors;

      viii) the property has been posted for foreclosure;

      ix)    the debtor and one creditor have come to a standstill in state court
             litigation and the debtor has lost or has been required to post a
             bond which it cannot afford; and

     x)        the filing of the petition effectively allows the debtor to evade court
               orders.

     - In re Trident Associates Ltd. P'ship, 52 F.3d 127, 131 (6th Cir. 1995).

       31.     Further, courts will not hesitate to dismiss a case where it is being used
                                            11


23-45970-mlo     Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00    Page 11 of 205
merely to avoid negative results in separate litigation. In re Mickler, 324 B.R. 613,

618 (Bankr. W.D. Ky. 2005), citing In re Wally Findlay Galleries (New York), Inc.,

36 B.R. 849, 851 (Bankr. S.D.N.Y. 1984).

       32.     For example, in In re Wally Findlay Galleries, a debtor commenced a

Chapter 11 case only after a state court issued a judgment against its owner. The

filing of the Chapter 11 case brought to a halt a related state court proceeding for

ejectment of real property operated by Debtor.

       33.     The United States Bankruptcy Court for the Southern District of New

York dismissed the case, holding:

       It is clear that the debtor did not file its petition to reorganize, but rather
       as a litigating tactic. ... The petition was filed the same day that
       judgments ... were entered in the state court. Neither the debtor [nor its
       owner] has sufficient assets to post a bond in order to stay these
       judgments pending appeal. The debtor filed its petition herein to avoid
       the consequences of adverse state court decisions while it continues
       litigating. In re Wally Findlay Galleries, 36B.R. at 851.

see also In re 698 Flushing Realty Corp., 335 B.R. 17, 20 (Bankr. E.D.N.Y.

2005) (dismissing the case as "a two-party dispute between the debtor, on the

one hand, and the movants, on the other" where there was no possibility of

reorganizing); In re Purpura, 170 B.R. 202, 207 (Bankr. E.D.N.Y. 1994)

(dismissing a Chapter 11 case filed only after a divorce decree was issued against

the debtor because the "debtor's Chapter 11 effort involves essentially a two

party dispute based on state law, and the filing for relief represented a litigation

                                           12


23-45970-mlo    Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00      Page 12 of 205
tactic to stall and impede the enforcement of legal rights against the debtor").

       34.     Once an issue is raised concerning whether the petition was filed in

good faith, the burden shifts to the debtor to demonstrate that the petition was filed

in good faith.

       35.     This Case is nothing more than a transparent attempt by the Debtor to

forum shop and avoid the consequences of the State Court orders. Specifically,

Debtor is attempting to avoid turnover of the $600,000 ordered by the State Court.

The Debtor is further attempting to avoid production of documentation

substantiating the basis for its disbursement of almost $450,000 in client funds

which are subject to the liens and claims of third parties and medical providers.

       36.     Furthermore, the State Court provides a forum for the adjudication of

the rights of the Debtor and the various lien claimants.

       37.     Rather than seeking a bona fide reorganization, the Debtor seeks to use

the stay and turnover provisions to prevent the enforcement of the receivership order

and adjudication of the property rights of third parties as against the Debtor and

insiders of the Debtor (Brian Dailey).

       38.     The Debtor cannot provide a single valid reason for filing bankruptcy.

       39.     According to its petition, the reason for filing was that an employee

embezzled $600,000 from the Debtor.

       40.     However a review of the Complaint filed by the Debtor, reveals that

                                           13


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 13 of 205
the purported embezzlement is actually a fee sharing dispute between the Debtor

and a former employee, and in the amount of $116,583.33 (See Exhibit J, First

Amended Complaint).

      41.      Given Debtor’s yearly revenue of $2 million plus, this disputed

amount is approximately 5% of its gross revenue.

      42.      The only purpose of this bankruptcy is an impermissible one: to allow

the Debtor to evade State Court orders, including the Receivership Order, to prevent

turnover of documents, and to prevent the State Court from adjudicating the

property rights of the parties with respect to funds that were to be held in trust by

the Debtor for the benefit of third parties and lien claimants.

      43.      Accordingly, dismissal based on bad faith is warranted (See also In re

Brandon Farmer's Market, Inc., 34 BR 148, (1983, MD Fla) holding that a chapter

11 petition is not filed in good faith, is not an authorized filing, and should be

dismissed where institution of Chapter 11 proceeding was done only to evoke

automatic stay in order to prevent pending state court proceeding which sought

liquidation of corporation, injunction and appointment of receiver and where there

is nothing to intimate that it was a legitimate corporate reorganization case; while

Bankruptcy Code does not require initial showing of good faith, presence of good

faith is implicit, and it would be abuse of jurisdiction to permit debtor to seek relief

for sole purpose of achieving purpose which was not proper legitimate purpose).

                                           14


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 14 of 205
      44.      In applying the Trident factors:

 Trident Factors                     Relevant Facts of this Case

 The debtor has one asset            Debtor list accounts receivable as its main
                                     asset, along with some office furniture and
                                     supplies of deminimus value. A claim of
                                     unknown value against Ms. Sitto is also listed.
 The asset is encumbered by          Debtor lists one secured creditor. There is no
 liens of secured creditors          indication that Debtor was or is behind on
                                     payments to the secured creditor. The IRS
                                     has filed a proof of claim for $1 million
                                     dollars for unpaid trust fund taxes and have
                                     filed liens.
 The pre-petition conduct of the     The Debtor’s conduct has been grossly
 debtor has been improper            improper and unethical, and as a result is
                                     facing a 49 page ethics complaint from the
                                     State Bar of Michigan.
 There are generally no              The Debtor does have employees.
 employees except for principals
 There is little or no cash flow     The Debtor does have cash flow.
 There are no available sources      The Debtor’s only source of income is its
 of income to sustain a plan of      account receivables generated from referrals
 reorganization                      or providing legal services. It is unclear how
                                     or why Debtor needs to reorganize.
 There are few if any unsecured      Debtor has listed unsecured creditors, as per
 creditors                           its schedules.
 The property has been posted        Does not apply. However, Debtor’s assets
 for foreclosure                     were subject to a receiver with the purposes
                                     of ferreting out the debtor’s unethical
                                     treatment of client funds.
 The debtor and one creditor         The Debtor and the Defrauded Parties have
 have come to a standstill in        pending state court litigation over who has
 state court litigation and the      claims to funds held in the Debtor’s trust
 debtor has lost or has been         account as well as the disposition of funds
 required to post a bond which it    that should be in the trust account but are not.
 cannot afford



                                           15


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 15 of 205
       45.     In sum, the Debtor cannot meet its burden of showing that this Case

 was commenced in good faith as a number of the elements set forth for determining

 a bad faith filing have been met. This Case is nothing more than a litigation tactic to

 avoid the effect of State Court orders which authorize the Receiver to account for

 funds that were to be held by the Debtor in its trust account. Therefore, the Case

 should be dismissed.

      B.     The Debtor Lacked Authority to File the Petition

      46.      A bankruptcy case filed by someone purportedly acting on behalf of an

entity, but without authority to do so as determined under state law, is improper and

dismissable. In re ComScape Telecomms., Inc, 423 B.R. 816, 829-830 (Bankr. S.D.

Ohio 2010); In re Real Homes, LLC, 352 B.R. 221, 225 (Bankr. D. Idaho 2005); Price

v. Gurney, 324 U.S. 100, 106, 65 S. Ct. 513, 89 L. Ed. 776 (1945).

      47.      “State law includes the decisions of state courts.” Tenneco West, Inc.

v. Marathon Oil Co., 756 F.2d 769, 771 (9th Cir. 1985).

      48.      A receiver stands in the shoes of the debtor and has the right to assert

and exercise all of the debtor’s rights, claims and interests. Stram v. Jackson, 248

Mich. 171, 183, 226 N.W. 888, 892 (1929).

      49.      Federal Rule of Bankruptcy Procedure 9001(5) defines "Debtor,"

stating: "When any act is required by these rules to be performed by a debtor . . . and

the debtor is not a natural person: (A) if the debtor is a corporation, 'debtor' includes,

                                           16


23-45970-mlo     Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00     Page 16 of 205
if designated by the court . . . any person in control."

      50.      In this case, the Receiver was appointed over both Brian Dailey and the

Debtor.

      51.      Accordingly, the undersigned, as Receiver of Brian Dailey, was the

only person in control that had authority to sign the petition which initiated this Case.

      52.      The Receiver is aware of numerous cases that stand for the proposition

that the pendency of receivership proceedings over a corporate debtor do not prevent

that debtor from filing bankruptcy. See, e.g., Struthers Furnace Co. v. Grant, 30 F.2d

576, 577 (6th Cir. 1929); In re Greater Apartment Hunter’s Guide, Inc., 40 B.R. 29,

31 (Bankr. N.D. Ga. 1984) (“a state court receivership cannot operate to deny a

corporate debtor access to this nation’s federal Bankruptcy Courts”); In re Donaldson

Ford, Inc., 19 B.R. 425, 430 (Bankr. N.D. Ohio 1982) (restraint of ability to file due

to state court receivership would be an unconstitutional deprivation of the right to

federal bankruptcy relief).

      53.      However, the Receiver is not making that argument. If the Receiver

were only appointed over the Debtor and not Brian Dailey, then arguably Brian

Dailey had authority to sign the petition in this Case.

      54.      However, at the time of signing the Petition, Brian Dailey was in

Receivership, and under state law, the Receiver “stood in his shoes” and held all his

rights and authority.

                                           17


23-45970-mlo     Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00    Page 17 of 205
       55.      The Receiver did not authorize the signing of this petition or the

initiation of this Case.

       56.      The undersigned is unaware of any reported decision in which an

individual in receivership has been found to be authorized to sign a petition on behalf

of a corporate entity.

 II.   THE COURT SHOULD DISMISS OR SUSPEND THE
       PROCEEDINGS UNDER SECTION 305(a) OF THE
       BANKRUPTCY CODE

        57.     Even if the Court does not dismiss the Case under Bankruptcy Code §

 1112(b), the Court should exercise its discretion to abstain from the proceedings

 under Bankruptcy Code § 305(a).

        58.     Section 305(a)(1) of the Bankruptcy Code "permits a bankruptcy court

 to dismiss any bankruptcy case where “ 'the interests of creditors and the debtor

 would be better served by such dismissal ....' 11 U.S.C. § 305(a)(1)).

        59.     In determining whether abstention is proper under Section 305(a)(1),

 courts generally examine the following factors:

              (1) the effect or lack of effect on the efficient administration of the estate
              if a court abstains;

              (2) the extent to which state law issues predominate over bankruptcy
              issues;

              (3) the difficulty or unsettled nature of the applicable state law;

              (4) the presence of a related proceeding commenced in state court or
              other non-bankruptcy court;
                                             18


23-45970-mlo       Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00     Page 18 of 205
           (5) the jurisdictional basis, if any, other than 28 U.S.C. 1334;

           (6) the degree of relatedness or remoteness of the proceeding to the main
           bankruptcy case;

           (7) the substance rather than form of an asserted "core" proceeding;

           (8) the feasibility of severing state law claims from core bankruptcy
           matters to allow judgments to be entered in state court with enforcement
           left to the bankruptcy court;

           (9) the burden of this court's docket;

           (10) the likelihood that the commencement of the proceeding in
           bankruptcy court involves forum shopping by one of the parties;

           (11) the existence of a right to a jury trial;

           (12) the presence in the proceeding of nondebtor parties; and

           (13) any unusual or other significant factors. Kmart Creditor Trust v.
           Conaway (In re Kmart Corp.), 307 B.R. 586, 596-97 (Bankr. E.D. Mich.
           2004) (J. McIvor)
Based on these factors, courts have dismissed a case under Section 305 where:

      another forum would be better suited to the issues presented (see, e.g., In re
      TPG Troy,492 B.R. at 160) (dismissing a case under Section 305(a) where
      "the primary claims at issue are based on state law and ... can be adequately
      determined in the state court proceedings.");

      or
      where keeping the case in the federal forum would amount to a waste of
      time and resources because of the existence of an equitable receivership (see,
      e.g., In re Michael S. Starbuck, Inc., 14 B.R. 134, 135 (Bankr. S.D.N.Y.
      1981) (finding "the best interests [of the creditors] will be served by the
      continued administration of the equity receivership");
      or
      where Chapter 11 was filed on same date that state court affirmed
                                           19


23-45970-mlo    Doc 70    Filed 08/03/23    Entered 08/03/23 09:24:00   Page 19 of 205
     appointment of temporary receiver, during which proceeding many of issues
     now being litigated before Bankruptcy Court were raised, involving a classic
     2-party dispute, involving state-law issues that are currently pending before
     state court, relationship of these parties, vis-a-vis their mortgagor-mortgagee
     status, must be resolved before any reorganization is possible, and although
     debtor argues that, without Bankruptcy Court intervention, it will probably be
     dispossessed of its real estate before litigating merits of dispute, it may seek
     injunctive relief in state court pending outcome of litigation there. In re Silver
     Spring Ctr. (1995, BC DC RI) 177 BR 759, 26 BCD 887.
     or
     where the case was brought for an improper purpose (see, e.g., In re Trina
     Assocs., 128 B.R. 858, 868 (Bankr. E.D.N.Y. 1991) (dismissing a case where
     it was determined that it was brought by "a general partner maneuvering to
     minimize his personal liability for partnership debt")).
     or
     debtor's bankruptcy petition was filed to thwart pending state receivership
     proceedings rather than to reorganize debtor, tracing and possible recovery
     of improperly invested trust funds involved application of state law, and
     state regulatory agency had significant interests in enforcement of state
     regulations and attempting to obtain relief under prepaid contracts. In re
     Forest Hill Funeral Home & Mem. Park - East, LLC (2007, Bankr. ED
     Okla) 364 BR 808, 48 BCD 11.
    or
    debtor’s bankruptcy petition was filed by a majority member of a law firm
    embroiled in state court litigation over ownership of its stock. In re Law
    Offices of T. Robert Hill, P.C., No. 17-10597, 2017 Bankr. LEXIS 4621, at
    19 (Bankr. W.D. Tenn. June 20, 2017).
      60.      "Section 305 of the Bankruptcy Code recognizes that there are
situations under title 11 where it would be proper for the Bankruptcy Court to
decline jurisdiction. ... [T]he decision to abstain lies solely within the discretion of
the Court." In re Fitzgerald Grp., 38 B.R. 16, 17 (Bankr. S.D.N.Y. 1983)

      61.      Dismissal or suspension of the Case is warranted here. The Debtor is
presently a party to state court litigation relative to rights and obligations with
respect to funds it held in its client trust account. Those interests can be adequately
                                           20


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 20 of 205
protected in and through the State Court.

      62.      Furthermore, it is unclear what the Debtors hope to achieve in this
case that could not be achieved in the State Court and through the receivership.

      63.      Specifically under Michigan law, including the provisions of Mich.
Comp. Laws §§ 554-1101-554.1040, effective May 7, 2018. The Debtor can
accomplish the following:


      (a) seeking and obtaining a judicial determination of the correct amount of
          their debts and challenges to same; see, e.g., Mich. Comp. Laws Ann. §
          554.1030 (claims process in the receivership action, and requirement in
          §§ 554.1030(5) and 554.1030(7) that secured and unsecured claims must
          be allowed, and distributions must be made, according to and under “law
          of this state other than this act”);

      (b) seeking and obtaining a judicial determination of any challenge to the
          validity and/or extent of the claimed liens; Id.;

      (c) seeking to protect the Debtor’s claimed value in its assets, through a fair
          market value sale of those assets, either through a Section 363-type sale
          under the 2018 Receivership Act, see, e.g., Mich. Comp. Laws Ann. §
          554.1026
      64.      To the extent the Debtor claims that the Receiver is in any way not
acting properly or quickly enough with respect to the Debtor’s assets, the Debtor
can seek and obtain relief for that from the state court in the State Court Action See,
e.g., Mich. Comp. Laws Ann. § 554.1015(2).

      65.      In sum, it is unclear what the Debtor hopes to achieve in a
reorganization plan that could not be achieved in state court through the
Receivership proceedings.

      66.      Furthermore, the Debtor's Case merely raises issues of state law
                                           21


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 21 of 205
concerning the propriety of the Receivership Order and the effectuation of other
State Court orders. These issues are best handled by the State Court, as it was the
State Court that issued the Receivership Order and other orders in related
proceedings. The State Court is also the judicial body most familiar with these
parties and Debtor's alleged sole asset, its accounts receivable, and the various
proceedings in which the Debtor and its insiders have participated for over nearly
two years.

      67.      Basic principles of comity and judicial efficiency further support a
dismissal, as this Case requires this Court to revisit issues already determined by
the State Court.

      68.      Moreover, as discussed above, this Case has all the indicia of a
proceeding commenced in bad faith which demonstrate that the petition does not
seek a bona fide reorganization.

      69.      In sum, with respect to the relevant factors:
      (a)      there are already pending State Court proceedings - the State Court
               action - in which the interests of the Debtor can be protected;
      (b)      administering this Case would be inefficient and uneconomical, as
               this Court will be required to become familiar with, and make - and
               often, remake - decisions on various issues already before the State
               Court in the State Court action;
      (c)      federal proceedings are not necessary to reach a just and equitable
               solution, because the only issues relevant here are state law issues
               that were already determined in the State Court action; to the extent
               any of those issues could be revisited, they should be addressed only
               by the State Court in those proceedings;
      (d)      the State Court has authority to, and could, provide alternative means
               of achieving an equitable distribution of assets, which would be more
               efficient than re-litigating issues already raised in the State Court
               action before this Court; and
                                           22


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 22 of 205
      (e)      the purpose for which bankruptcy jurisdiction has been sought is to
               stay the activities of the State Court Receiver, including an
               accounting of funds held in trust
      70.      The receiver further submits that this Case is factually similar to In
Re Forest Hill, supra, given the issues of abuse of client funds.

      71.      That case concerned a cemetery and funeral home business that sold
“preneed” funeral services and cemetery plots. Customers’ funds were to be held
in trust pending their death. Certain funds were also required to be set aside to
maintain the grave sites.

      72.      An audit by a third party found 22 deficiencies in the financial
management of Forest Hill. Included in those findings were determinations that the
investments made by the debtor violated the Tennessee prudent investment rule,
and that Forest Hill had failed to fully fund some of the trust accounts as required
under Tennessee law.

      73.      The state court appointed a receiver of Forest Hill and Forest Hill filed
for bankruptcy protection. The Bankruptcy Court found cause for dismissal and
abstention and noted that tracing and recovery of trust funds involve the application
of state law, and the state court and its receiver were best positioned to do so.

      74.      Given the foregoing, to protect the interests of Debtor's creditors and
satisfy basic principles of economy and efficiency, the Court should exercise its
discretion to dismiss the Case pursuant to Bankruptcy Code § 305(a).




                                           23


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 23 of 205
III.   ALTERNATIVELY, IF THE CASE IS NOT DISMISSED OR
        SUSPENDED, THE RECEIVER IS ENTITLED TO THE
        PROTECTIONS OF SECTIONS 543(c) AND (d) OF THE
        BANKRUPTCY CODE

       75.     Even if this Case is not dismissed or suspended, under Bankruptcy
Code §543(d) the Receiver should be excused from turning over property, and, in
any event, the Receiver is entitled to the protection of Bankruptcy Code § 543 (c)
and the automatic stay should be lifted as to any and all actions by the receiver and
Lender.
             A. The Receiver Should Be Permitted to Maintain Control Over
             the Debtor’s Property Under Section 543(d) of the Bankruptcy
             Code
       76.     While Sections 543(a) and (b) of the Bankruptcy Code generally
require a custodian, such as a state court receiver, "to turn over to the bankruptcy
trustee or debtor-in- possession any property of the debtor that is in the possession,
custody or control of the ... custodian," Bankruptcy Code § 543(d)(1) provides an
exception to this requirement. In re Packard Square LLC, 575 B.R. 768, (Bankr.
E.D. Mich. 2017); In re Dill, 163 B.R. 221, 225 (E.D.N.Y. 1994);

       77.     Section 543(d)(1) of the Bankruptcy Code states: "After notice and
hearing, the bankruptcy court. . . may excuse compliance with subsection (a), (b),
or (c) of this section if the interests of creditors ... would be better served by
permitting a custodian to continue in possession, custody, or control of such
property."

       78.     "Section 543(d)(1) is a modified abstention provision that reinforces
the policies set forth in [Section] 305" of the Bankruptcy Code, supra. In re 245

                                           24


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 24 of 205
Assocs., LLC, 188 B.R. at 749. When determining whether to excuse the custodian
from turning over assets, the Court examines the following factors:


      (i) whether there will be sufficient income to fund a successful reorganization;
      (ii) whether the debtor will use the turnover property for the
      benefit of the creditors;
      (iii) whether there has been mismanagement by the debtor;
      (iv) whether or not there are avoidance issues raised with respect to
      property retained by a receiver, because a receiver does not possess
      avoiding powers for the benefit of the estate; and
      (v) the fact that the bankruptcy automatic stay has deactivated the state
      court receivership action.

In re Dill, 163 B.R. at 225; see also In re Constable Plaza Assocs., L.P., 125 B.R.

98, 103 (Bankr. S.D.N.Y. 1991) In re Packard Square LLC, 575 B.R. 768, 780

(Bankr. E.D. Mich. 2017) (discussing similar factors).

       79.     "The interests of the debtor . . . are not part of the criteria considered

when applying section 543(d)(1)." In re Dill, 163 B.R. at 225. Moreover, a court

will not deny a receiver the protections of Section 543(d)(1) merely because there

is an automatic stay, for to do otherwise would "read out of the Bankruptcy Code

the operative effect of section 543(d)(1)." Id. at 226; see also In re CCN Realty

Corp., 19 B.R. 526, 529 (Bankr. S.D.N.Y. 1982) (excusing a receiver from

complying with turnover where the debtor lacked incentive to collect rents on the

subject premises).

       80.     As summarized in In re Lizeric Realty Corp., 188 B.R. 499, 507

(Bankr. S.D.N.Y. 1995) courts have routinely excused turnover upon a finding of

                                           25


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00     Page 25 of 205
mismanagement by the debtor. Matter of Plantation Inn Partners, 142 B.R. 561,

563 (Bankr. S.D.Ga.1992) (receiver excused from turnover where court found that

debtor had defaulted on mortgage payments, failed to pay taxes, failed to report

revenues and pay franchise fees to its franchisor, failed to place casualty and liability

insurance on the property, allowed flood insurance to lapse, hired an unqualified

manager for the hotel, failed to maintain current accounting records, failed to

account for approximately $20,000.00 drawn on counter checks of the business, and

paid over $50,000.00 to debtor's principal or his affiliated companies for

"management services" without documentation or justification); Matter of WPAS,

Inc., 6 B.R. 40, 44 (Bankr.M.D.Fla.1980) (court permitted receiver to remain in

possession and control of assets where debtor disregarded its obligation to file

payroll tax returns and pay FICA taxes and drew checks on accounts without

determining the sufficiency of funds). (emphasis added).

       81.     The Receiver should be excused from turning over the assets or any

other property in this Case. As discussed above, Debtor does not seek a bona fide

reorganization. The conduct of Debtor has demonstrated thus far that the Debtor

will not use its assets to benefit the creditors in this Case. Quite the opposite: the

Debtor has sought at every turn of the state court action to avoid payment of any

sums due or provide any meaningful transparency with respect to its diversion of

almost $450,000.

                                          26


23-45970-mlo    Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00     Page 26 of 205
          82.    In sum, with respect to the relevant factors:


      -         Given the proof of claim of the IRS, there are no assets available for
                unsecured creditors, so the turnover property could not benefit any
                creditors other than the secured creditors; rather, the Debtor is using this
                Case to prevent an investigation into is use and abuse of trust funds;
      -         With respect to management of the Debtor's affairs, the Debtor has
                engaged in mismanagement of funds which were to be held in trust by
                diverting it to their own use and benefit


      83.        Finally, as explained in In re Dill, 163 B.R. at 225, the fact that there

may be an automatic stay under Bankruptcy Code § 362 is not dispositive on an

application for relief from turnover pursuant to Section 543(d)(1). Here, the

availability of the stay should be of no moment because Debtor filed this Case only

as a litigation tactic to stay the proceedings in the State Court Action and prevent

further investigation and scrutiny of its pre-petition actions.

      84.        Section 543(d)(1) factors strongly weigh in favor of excusing the

Receiver from complying with any turnover of the property of the estate, and the

Receiver respectfully requests that the Court exercise its discretion to permit the

Receiver to continue to manage the Debtor.

B. The Receiver Should Be Accorded the Protections of Bankruptcy
   Code § 543(c)(1) and Provided with Its Reasonable Compensation,
   Costs and Expenses Pursuant to Bankruptcy Code § 543(c)(2)

      85.        Section 543(c)(1) of the Bankruptcy Code provides: "The court, after

notice and a hearing, shall ... protect all entities to which a custodian has become

                                              27


23-45970-mlo       Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00     Page 27 of 205
obligated with respect to such property or proceeds, product, offspring, rents, or

profits of such property." Pursuant to this Section, "[w]hen turnover occurs, the

Bankruptcy Court is required to protect the persons to whom the custodian is

indebted." In re 400Madison Ave. Ltd. P'ship, 213 B.R. 888, 898 (Bankr. S.D.N.Y.

1997). In this regard, a custodian, including a receiver, is entitled to payment of all

of [its] unpaid bills, including those of his counsel, subject only to a determination

of reasonableness. Id.; see also In re Euro-Am. Lodging Corp., 357 B.R. 700, 718

(Bankr. S.D.N.Y. 2007) ("[s]ince the receiver may owe debts that he lacks the

wherewithal to pay, § 543(c)(1) provides a mechanism for the bankruptcy court to

'protect' the receiver's creditor.").

       86.     Moreover, Section 543(c)(2) states that, after notice and hearing, the

Court "shall ... provide for the payment of reasonable compensation for services

rendered and costs and expenses incurred by such custodian." The section allows

the custodian to apply, "[a]fter being superseded . . . for reasonable compensation

for services rendered and costs and expenses incurred, including legal fees

reasonably incurred in connection with the custodian's services." In re Snergy

Props., Inc., 130 B.R. 700, 705 (Bankr. S.D.N.Y. 1991). "The receiver is entitled to

compensation for properly incurred expenses notwithstanding that there was no

previous authorization by the [bankruptcy court] because 11 U.S.C. § 543(c)(2)

do[es] not require such prior authorization." Id. Moreover, the court need not wait

                                            28


23-45970-mlo     Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 28 of 205
until the end of the case before awarding the receiver its compensation, fees and

expenses. See, e.g., In re Marichal-Agosto, Inc., 12B.R. 891, 893 (Bankr. S.D.N.Y.

1981).

      87.      Even if the Court requires the Receiver to turn over the assets and/or

any other property, Section 543(c)(1) requires that the Receiver be accorded

protection by permitting the Receiver to obtain funds from the Debtor's property in

order to pay its unpaid bills, including its attorneys' fees. Moreover, Section

543(c)(2) similarly requires that, if a turnover occurs, the Receiver receive its

reasonable compensation and expenses.

      88.      Accordingly, if this Case is not dismissed or suspended, and the

Receiver is also required to turn over the assets and/or any other property, the

Receiver respectfully invokes the full protections of Section 543(c)(1) and (2).

                               IV.    CONCLUSION

      WHEREFORE the Receiver respectfully requests that an Order be entered (i)

dismissing the Case under Bankruptcy Code §1112(b) based on lack of good faith

and for cause shown; and/or (ii) dismissing or suspending the proceedings in this

Case under Bankruptcy Code §305(a), as the interests of the creditors and debtor

would be better served by dismissal or suspension or in the alternative, (iii) excusing

the Receiver from complying with any turnover under Bankruptcy Code § 543 (d)

and protecting the property held by the Receiver and for payment of the Receiver's

                                           29


23-45970-mlo    Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 29 of 205
reasonable costs and expenses under Bankruptcy Code § 543(c); and for such other

relief as the Court deems just and proper.

                                       Respectfully submitted,

                                       SIMON PLC ATTORNEYS &
                                       COUNSELORS

                                       /s/ John Polderman
                                       John Polderman (P65720)
                                       Court Appointed Receiver
                                       363 W. Big Beaver Road, Suite 410
                                       Troy, MI 48084
                                       Phone: 248-720-0290
                                       jpolderman@simonattys.com



Dated: August 1, 2023




                                          30


23-45970-mlo    Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 30 of 205
                         EXHIBIT “A”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 31 of 205
 ca
 >.
 0
0::
.c
 ca                                      STATE OF MICHIGAN
  0                       IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE
..0
 a)
0
           DAILEY LAW FIRM, PC,

                 Plaintiff/Counter-Defendant

           V.

           MICHIGAN SPINE AND PAIN,                                   Case No. 21-007081-CZ
                Defendant/Counter-Plaintiff
                                                                      Hon. Adel Harb
           AND

::::.:::   JODY INGRAM; INTEGRATED COUNSELING
0::
UJ         SERVICES; SUMMIT PSYCHIATRIC SERVICES;
...J       CAPS CONSULTING, L.L.C.; TOTAL TOXICOLOGY;
u
>-
1-
           MED TRUST L.L.C.; OPEN MRI OF LIVONIA;
           AMERICAN SPECIALTY PHARMACY D/B/A ASP
z          CARES; Ml IMAGING; PAIN ASSOCIATES OF
::>
0          MICHIGAN; CRAIG PEPPLER, D.O.; HENRY FORD
u          HEALTH SYSTEM; BLUE CROSS BLUE SHIELD
w          OF MICHIGAN; HEALHCARE IMAGING PARTNERS;
z          KRANS REHAB, L.L.C.; SPECTRUM REHABILITATION;
�          ASSOCIATED ORTHOPEDICS OF DETROIT; MICHIGAN
�          SPINE AND PAIN; MICHIGAN NEURO OPTHALMOLOGY;
           BINSON'S HOME HEALTHCARE; LABCORP;
           PERFORMANCE ORTHO; METRO DETROIT
           ENDOCRINOLOGY; MICHIGAN CRNAS STAFFING,
           LLC; SUSAN NELSON; ATI PHYSICAL THERAPY,

                 Defendants

           AND

UJ
u          MICHIGAN SPINE AND PAIN, a OBA of
LL         MICHIGAN REHABILITATION PHYSICIANS, PLC,
LL
0
>­               Counter/Third Party Plaintiff
�          V.
z
0          BRIAN T. DAILEY,
w
...J
                 Third Party Defendant
LL
N
u   I
�
co
0
r,...
0          23-45970-mlo    Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 32 of 205
0I
�
N
Brian T Dailey (39945)
Eric C Hoort (P84656)
William D Savage (P82146)
THE DAILEY LAW FIRM, PC
Attorneys for Plaintiff
36700 Woodward Ave., Suite 107 Bloomfield Hills, Ml 48304


STARK REAGAN
By: Peter L. Arvant (P52809)
Attorney for Defendant Total Toxicology
1111 W. Long Lake Avenue Suite 202
Troy, Ml 48098

F: 248-641-9921

Elizabeth Downey
ELIZABETH A. DOWNEY, PLLC
For CRAIG PEPPLER, DO
30445 Northwestern Highway, Suite 250
Farmington Hills, Ml 48334
248-539-7407

Robert S. Drazin (P23707)
DRAZIN & ASSOCIATES
Attorney for Jody Ingram
23855 Northwestern Highway
Southfield, Ml 48075
248-948-9696

Jonathan A. Green (P51461)
GREEN & GREEN, PLLC
Attorneys for Michigan Spine & Pain 30300
Northwestern Highway, Suite 250
Farmington Hills, Ml 48334-3475
248-932-0500

Ziyad lhsan Hermiz (P72236)
VARNUM, LLP
Attorney for M1 Imaging
260 Brown Street, Suite 160
Birmingham, Ml 48009-6222
248-567-7800

Amerique Philyaw Dockery (P79496)
ASSISTANT GENERAL COUNSEL BCBS MICHIGAN

                                             2
23-45970-mlo      Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 33 of 205
600 Lafayette Blvd., Mail Code 1925
Detroit, Ml 48221
313 653 7006

Phillip A Jaffe (P25997)
Attorney for Open MRI of Livonia
P.O. BOX 25092
West Bloomfield, Ml 48325-0902
248 224 1463

Bruce K. Panzer (P39913)
BRUCE K. PAZNER, PC
Attorney for Michigan Neuro
15200 E. Jefferson Ave, Suite 104
Grosse Pointe Park, Ml 48230-2055
313 822 6097

Tim Sulolli (P58798)
GOODMAN ACKER, P.C.
Attorney for Krans Rehab
17000 W. 10 Mile Road, 2nd Floor
Southfield, Ml 48075
(248) 483-5000
-------------------------------
                ORDER APPOINTING COURT APPOINTED RECEIVER

                 At a session of said Court held on 6/26/2023
                        in the County of Wayne, State of Michigan

                                 Present: Hon. Adel Harb


      This matter having come before the Court pursuant to Defendant Ingram's Motion

for Entry of Order compelling Plaintiff Dailey Law Firm, PC and Third party Defendant

Brian Dailey, individually to show cause why they should not be held in contempt of Court

for failure to comply with Court orders dated February 27, 2023, and May 12, 2023, both

of which require Dailey and the Dailey Law firm to interplead the sum of Six Hundred

Thousand Dollars ($600,000.00) into an escrow account created by Robert S. Drazin,

said account to be under the control of the Court (hereinafter referred to as "the Court's

Orders"); Dailey and the Daily Law firm having failed to comply with this Court's orders
                                             3
23-45970-mlo     Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00      Page 34 of 205
regarding the same, by failing to interplead any funds; a request having been made by

Defendants in this matter for the appointment of a Receiver for purposes of gaining

compliance with this Court's orders, and the Court being otherwise informed as to the

premises:

         IT IS HEREBY ORDERED that JOHN W. POLDERMAN, ESQ., 363 West Big

Beaver Rd., #410, Troy Ml 48084 ("Receiver"), is hereby authorized to act with full

powers over the interests in personal, real, mixed and business assets ("assets") of Brian

T. Dailey, Individually, and the Dailey Law Firm, PC. wherever said assets are situated,

for purposes of enforcement of this Court's Orders of February 27, 2023 and May 12,

2023.

                               AUTHORITY OF RECEIVER

         IT IS HEREBY FURTHER ORDERED that the Receiver is hereby granted all

powers and authority conferred by statutes and case law, including but not limited to MCL

554.1011 et. seq., to control, sell, encumber, take possession of, lease or liquidate said

personal, real, mixed and business assets of Brian T. Dailey, Individually, and the Dailey

Law Firm, PC in order to gain compliance with the Court's orders of February 27, 2023

and May 12, 2023.

         IT IS HEREBY FURTHER ORDERED that the Receiver shall deposit into a

fiduciary checking account any and all monies, cash, funds, etc. from the liquidation of the

personal and interests in business assets of Brian T. Dailey, Individually, and the Dailey

Law Firm, PC, and that the Receiver shall not disburse said without an Order of this

Court.

         IT IS HEREBY FURTHER ORDERED that the Register of Deeds shall accept a

certified copy of this Order for recording, against any real property in which the Receiver

                                             4
23-45970-mlo     Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00      Page 35 of 205
determines that Brian T. Dailey, Individually, and the Dailey Law Firm, PC has an interest

in.

         IT IS HEREBY FURTHER ORDERED that responsibility for the Receiver's costs

and fees are solely the responsibility of Brian T. Dailey, Individually, and the Dailey Law

Firm, PC.

         IT IS HEREBY FURTHER ORDERED that the Receiver, while exercising his

duties, is deemed a ministerial officer of this Court whose jurisdiction over the assets

named in this Order shall be the same as the Court itself. See Cohen v Bologna, 52 Mich

App 149; 216 NW2d 586 (1974 ). No action, suit, proceeding, claim, or demand arising

from, in connection with, or relating to any of the assets and/or in the course of acting in

such court-appointed capacity shall be pursued against the Receiver by any party or non­

party without an allegation that the Receiver has acted in bad faith and without first

obtaining leave of this Court. See In re Motion to Sue Receiver of Venus Plaza Shopping

Center, 228 Mich App 357; 579 NW2d 99 (1998).

                               THE RECEIVERSHIP ESTATE

         IT IS HEREBY FURTHER ORDERED that the Receiver shall be empowered, but

not obligated to:

         (a)    Preserve, hold, and manage all receivership assets, and perform all acts

necessary to preserve the value of those assets, to prevent any loss, damage, or injury;

         (b)    Prevent the withdrawal or misapplication of funds;

         (c )   Initiate, defend, compromise, adjust, intervene in, dispose of, or become a

party to any actions or proceedings in state, federal, or foreign court necessary to

preserve or increase the assets of either party or to carry out her duties pursuant to this

Order;

                                               5
23-45970-mlo        Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00     Page 36 of 205
       (d)    Choose, engage, and employ realtors, attorneys, accountants, appraisers,

and other independent contractors and technical specialists, as the Receiver deems

advisable or necessary in the performance of duties and responsibilities under the

authority granted by this Order;

       (e )   Issue subpoenas to obtain documents and records pertaining to the

receivership, and conduct discovery in this action on behalf of the receivership estate;

and

       (f )   Make payments and disbursements from the receivership estate that are

necessary or advisable for carrying out the directions of this Court, or exercising the

authority granted by this Order.

                       RESTRAINT ON TRANSFER OF PROPERTY

       IT IS HEREBY FURTHER ORDERED that except as otherwise ordered by this

Court, the Brian T. Dailey, Individually, and the Dailey Law Firm, PC and any and all

persons acting in concert with him or on his behalf, are restrained and enjoined from

directly or indirectly transferring, selling, alienating, liquidating, encumbering, pledging,

leasing, loaning, assigning, concealing, dissipating, converting, withdrawing, or otherwise

disposing of the assets, except as otherwise ordered by this Court. This includes

disbursement of any settlement fund proceeds for any ongoing litigation for cases being

handled by the Brian T. Dailey, Individually, and the Dailey Law Firm, PC, excepting the

client's share and/or any lienholders.

       IT IS HEREBY FURTHER ORDERED that Brian T. Dailey, Individually, and the

Dailey Law Firm, PC and all persons or entities who receive notice of this Order by

personal service or otherwise, are restrained and enjoined from directly or indirectly

destroying, mutilating, erasing, altering, concealing, or disposing of, in any manner,

                                               6
23-45970-mlo      Doc 70    Filed 08/03/23    Entered 08/03/23 09:24:00       Page 37 of 205
directly or indirectly, any documents that relate to the business practices or business or

personal finances of Brian T. Dailey, Individually, and the Dailey Law Firm, PC

                                     BOND OF RECEIVER

       IT IS HEREBY FURTHER ORDERED that pursuant to MCR 2.622(C)(1) and (G),

bond shall be a personal bond based upon consideration of the following, but not limited

to, the following:

       1.      The value of the receivership estate, if known;

       2.      The amount of cash or cash equivalents expected to be received into the

receivership estate;

       3.      The amount of assets in the receivership estate on deposit in insured financial

institutions or invested in US treasury obligations;

       4.      Whether the assets in the receivership estate cannot be sold without further

order of the Court;

       5.      If the Receiver is an entity, whether the Receiver has sufficient assets or

acceptable errors and omissions insurance to cover any potential losses or liabilities of the

receivership estate;

       6.      The extent to which any secured creditor is under-secured;

       7.      Whether the receivership estate is a single parcel of real estate involving few

trade creditors; and

       8.      Whether parties have agreed to a nominal bond.

                                      RECEIVER'S LIEN

       IT IS HEREBY FURTHER ORDERED that the Receiver shall be authorized to

record a claim of interest against any real and/or personal property in which Brian T.

Dailey, Individually, and the Dailey Law Firm, PC retains a fee simple interest in and the

                                                7
23-45970-mlo         Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 38 of 205
recordation of the Receiver's claim of interest shall constitute notice of the Receiver's lien

for any of the Receiver's unpaid fees and costs.

                               RETENTION OF JURISDICTION

       IT IS HEREBY FURTHER ORDERED that the balance of any Judgment or orders

of this Court previously entered shall remain in full force and effect and this Court retains

jurisdiction of this matter for all purposes.

       IT IS SO ORDERED.
                                                     /s/ Adel A. Harb 6/26/2023
                                                     CIRCUIT COURT JUDGE




                                                 8
23-45970-mlo      Doc 70     Filed 08/03/23     Entered 08/03/23 09:24:00   Page 39 of 205
                         EXHIBIT “B”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 40 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 41 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 42 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 43 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 44 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 45 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 46 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 47 of 205
                         EXHIBIT “C”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 48 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 49 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 50 of 205
                         EXHIBIT “D”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 51 of 205
                                                                                      RECEIVED by MCOA 6/2/2023 10:08:51 PM




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 52 of 205
                                                                                      RECEIVED by MCOA 6/2/2023 10:08:51 PM




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 53 of 205
                                                                                      RECEIVED by MCOA 6/2/2023 10:08:51 PM




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 54 of 205
                         EXHIBIT “E”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 55 of 205
                                                                                   1


  1                           STATE OF MICHIGAN

  2              IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

  3
          DAILEY LAW FIRM, P.C.
  4
                         Plaintiff,                 Case No. 21-007081-CZ
  5       vs.

  6       JODY INGRAM, et. al,

  7                  Defendants.
          ---------------------------/
  8

  9                      Zoom proceedings taken in the

10        above-entitled matter before HONORABLE ADEL HARB,

11        Third Judicial Circuit Court Judge, Detroit, Michigan,

12        on June 16, 2023.

13
          APPEARANCES:
14

15        FOR PLAINTIFF:              MR. BRIAN DAILEY
                                      63 Kercheval Ave, Ste 215




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                                    Grosse Pointe Farms, MI 48236

17        FOR MI Spine:               MR. JONATHAN GREEN
                                      30300 Northwestern Hwy #250
18                                    Farmington Hills, MI 48334

19        FOR JODY INGRAM:            MR. ROBERT DRAZIN
                                      23855 Northwestern Hwy
20                                    Southfield, MI 48075

21        FOR PEPPLER:                MS. ELIZABETH DOWNEY
                                      30445 Northwestern Hwy, #250
22                                    Farmington Hills, MI 48334

23        FOR M1 IMAGING:             MS. JAILAH EMERSON
                                      480 Pierce St., Ste 300
24                                    Birmingham, MI 48009

25




23-45970-mlo    Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 56 of 205
                                                                                  2


  1       APPEARANCES CONTINUED:

  2
          FOR MI NEURO
  3        OPHTHALMOLOGY:            MR. JOSH HAVENS
                                     15200 E. Jefferson Ave #104
  4
          FOR BCBS:                  MR. DYLAN STEC
  5                                  600 E. Lafayette Blvd. #1925
                                     Detroit, MI 48226
  6
          FOR MRI LIVONIA:           MR. PHILIP JAFFE
  7                                  P.O. Box 25092
                                     W. Bloomfield, MI 48325
  8
          FOR KRANS REHAB:           MR. TIMOTHY SULOLLI
  9                                  17000 W. 10 Mile Rd. 2nd Fl
                                     Southfield, MI 48075
10
          FOR CRNA STAFFING:         MR. IAN COOTE
11                                   17 S. Saginaw St., Flr 2
                                     Pontiac, MI 48342
12

13

14

15




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16

17

18

19        Shelee Beard
          Official Court Reporter
20

21

22

23

24

25




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 57 of 205
                                                                                   3


  1               T A B L E        OF     C O N T E N T S

  2
          WITNESS                                                      Page
  3
          N/A
  4

  5
                           E X H I B I T S
  6
                  NUMBER                     ADMITTED
  7
                  N/A
  8

  9

10

11

12

13

14

15




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16

17

18

19

20

21

22

23

24

25




23-45970-mlo    Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 58 of 205
                                                                                  4


  1                                                Detroit, Michigan

  2                                                June 16, 2023

  3                                      - - -

  4                             THE CLERK:       Calling 21-007081-CZ

  5                             THE COURT:       Good morning.

  6                             MR. DAILEY:       Brian Dailey on behalf

  7             of Plaintiff, Dailey Law Firm.

  8                             MR. HAVENS:       Josh Havens on behalf of

  9             Defendant, Michigan Neuro Ophthalmology.

10                              MR. DRAZIN:       Bob Drazin on behalf of

11              Defendant, Jody Ingram.

12                              MS. EMERSON:       Jailah Emerson on

13              behalf of Defendant, M-1 Imaging.

14                              MR. COOTE:       Ian Coote here for

15              Defendant, CRNA Staffing.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              MR. SULOLLI:       Tim Sulolli appearing

17              on behalf of Krans Rehab.

18                              MR. GREEN:       Jonathan Green on behalf

19              of Michigan Spine and Pain.

20                              MR. JAFFE:       Philip Jaffe on behalf of

21              Open MRI of Livonia.

22                              MR. STEC:        Dylan Stec for Blue Cross.

23                              MS. DOWNEY:       Elizabeth Downey on

24              behalf of Craig Peppler, D.O. and Pain Associates

25              of Michigan.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 59 of 205
                                                                                  5


  1                             THE COURT:      Is that everyone?

  2                             MS. DOWNEY:      I believe so, your

  3             Honor.

  4                             THE COURT:      All right.      Today is the

  5             time and date scheduled for a show cause.

  6                             Counsel.

  7                             MR. DAILEY:      Your Honor, I'm not

  8             aware of a show cause order being entered.                 This

  9             is a motion for an order to show cause.                So I

10              don't think the Court, unless I missed it, I

11              apologize, but I'm not aware of any order being

12              entered yet requiring me to show cause.                This is

13              a motion asking the Court to require me to show

14              cause.     If the Court enters that order to show

15              cause that would implicate issues of civil




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              contempt for which this Court has the authority

17              to impose fine of $7,500 or incarceration for up

18              to 93 days depending upon whether or not the

19              Court finds that the failure to follow the order

20              is subject to the show cause for the willful

21              failure.

22                              I'm telling the Court -- I'm asking

23              this Court to adjourn this hearing so I can have

24              counsel.      I don't have counsel.         I attempted to

25              get intervention from the court of appeals; they




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 60 of 205
                                                                                   6


  1             have denied that intervention because there is no

  2             harm as yet.       I intend to go back to the court of

  3             appeals depending on what this Court does.

  4                             Given the fact that this Court has

  5             the power to deprive me of liberty and property,

  6             I am demanding that I be allowed to have counsel.

  7             I don't have counsel.          I've not been able to find

  8             counsel.      I would ask the Court to adjourn this

  9             for a period sufficient to allow me to do that.

10              That's the first thing.           The second thing is I'm

11              still under a doctor's order not to participate

12              in hearings.       That is an order that goes through

13              August of 2023 due to a virus that I had, a lung

14              infection in April.          I do want to indicate to the

15              Court that as I mentioned earlier in the earlier




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              hearing, I'm unable to adhere to the Court's

17              order because I don't have the money to do so.

18              It's not a willful violation, Judge.                 It's a

19              violation, if at all, based upon an inability to

20              provide the funds.         And that's because the fees

21              on this case were earned in 2018 and distributed

22              with Ms. Ingram's permission, knowledge and

23              notice which then reduced the fund to somewhere

24              in the neighborhood of $370,000.             And then there

25              were payments made to medical providers that had




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 61 of 205
                                                                                  7


  1             valid liens for services rendered, transportation

  2             company, which then reduced it to probably in the

  3             neighborhood of $300,000.           Then there was further

  4             reduction in 2020 after I had been successful in

  5             a litigation for Ms. Ingram to restore her

  6             long-term disability benefits.             I met with them

  7             and provided to them an accounting to explain how

  8             to work, were the fees were, all the fees

  9             distributed to Dailey law firm were supported by

10              a valid contingent fee agreement signed by the

11              client and called for contingencies that were

12              paid.     That then further reduced the fund to

13              $155,000 approximately.           That all took place more

14              than two years ago.          In the case of the no-fault

15              fee, it was close to four years, actually five




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              years ago.

17                              So there is no willful violation of

18              the order here, Judge.          This order is an order

19              that is impossible for me to adhere to because

20              the funds had been distributed prior to today

21              with permission of Ms. Ingram.             And I note Ms.

22              Ingram is not here on Zoom call and would be an

23              important witness for the Court to make a

24              determination as to whether or not there were a

25              prior (inaudible) and approved distributions.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 62 of 205
                                                                                  8


  1                             I'd ask the Court to adjourn this so

  2             I can obtain counsel.          I have a right to counsel

  3             under sixth amendment because this Court has the

  4             ability to deprive me of my property and also

  5             liberty depending on what the Court finds.                 I'm

  6             reminding the Court that I have an illness that

  7             prevents me -- I've been ordered not to

  8             participate in hearings like this; I shouldn't

  9             be.

10                              THE COURT:      Wait.    What hearings are

11              you allowed to participate in if you're not

12              allowed to participate in hearings like this?

13              Which ones are you allowed by your doctor to

14              participate in?

15                              MR. DAILEY:      My doctor told me to




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              stay out of hearings and stay out of trials.                 So

17              I've done my best.

18                              THE COURT:      Those are your doctor's

19              orders to stay out of trial, but not to stay out

20              of your office?

21                              MR. DAILEY:      Because of the nature of

22              the illness, Judge, affecting my vocal cords, the

23              doctor is treating me for my vocal cords and

24              damage to my vocal cords as a result of it.                 He

25              told me to stay out of hearings where I have to




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 63 of 205
                                                                                    9


  1             speak at length and to stay out of trials.                 I

  2             have a trial in Chicago I got to go and adjourn

  3             next week.

  4                             I'm not required to stay out of my

  5             office; I can still work.           I've been called on to

  6             participate in hearings and trial.              Not every

  7             Judge has afforded me the ability to avoid

  8             hearings.      Some Judges have made me go forward no

  9             matter what.       I have a duty to my client so I

10              have to do that even though it's deleterious to

11              my health and my welfare.           There's nothing I

12              could do.

13                              I do tell every Judge ahead of time

14              about my condition.          I can show the Court the

15              doctor's orders if the Court would like.                I'd




                                                                                        RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              hate to do that in front of these attorneys.                   If

17              the Court would join me in a break out room to

18              show you, I'd be happy to do that.              I've asked

19              the doctor to sign an affidavit.             I think he has.

20              I haven't picked it up yet.            He's at Henry Ford

21              Hospital.      That's one issue.

22                              The other issue is because this

23              Court, depending upon the finding it makes, has

24              the ability and authority to deprive me of

25              liberty and property, I'm entitled to an attorney




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 64 of 205
                                                                                 10


  1             to represent me, and I don't have one.                So I'm

  2             asking this Court to adjourn this to allow me to

  3             do so.

  4                             THE COURT:      All right.      Anybody want

  5             to respond?

  6                             MR. DRAZIN:      If I may, your Honor,

  7             there's a lot to respond to, but I'll be brief.

  8             I represent Jody Ingram and anything he said

  9             about Jody Ingram's agreement to what has

10              happened is not correct.           She never agreed to the

11              disbursement.       She was improperly advised.            So

12              any statements regarding Jody Ingram that Mr.

13              Dailey says is incorrect.

14                              Also, I originally filed my motion,

15              your Honor, in October of 2022.             It has




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              continually been adjourned because of Mr.

17              Dailey's request for adjournment because of

18              illness and/or because he needs an attorney.

19              When we last heard this motion, it was on a

20              Monday, I believe, Mr. Dailey made a comment to

21              you that he was meeting that evening with an

22              attorney.      That was two months ago, a month ago,

23              whenever that was.         We are all accustomed to be

24              getting all these motions and hearing the same

25              from Mr. Dailey that he's ill and that he needs




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 65 of 205
                                                                                  11


  1             to hire an attorney.          It's not that hard for an

  2             attorney to find an attorney.            So I ask you to

  3             ignore that and go ahead with the motions that

  4             are before you.

  5                             When we had the last motion, you were

  6             aware Jody Ingram had filed a bar grievance

  7             against Mr. Dailey.          You asked Mr. Dailey what is

  8             the status of that bar grievance.             His response

  9             was it has been two years; he hasn't heard

10              anything.      And the inference he was setting forth

11              was that, therefore it must not be accurate.                 If

12              you wish me to comment on that response, I'd be

13              glad to, your Honor.

14                              MR. DAILEY:      Your Honor, I can

15              comment on that.         That's true I did tell you that




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              at the last hearing because that's what the state

17              of affairs was at that time.            After that, I

18              received a subpoena from the Attorney Grievance

19              Commission asking for information related to the

20              distributions from the $600,000 settlement and

21              that is something I'm working on right now; it's

22              not yet due.       I'll have it turned in to the

23              Attorney Grievance Commission by the time that

24              it's due.      That is a new development, but there

25              was a significant long period of time that I went




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 66 of 205
                                                                                  12


  1             without hearing a single thing from the grievance

  2             commission about that.          I think just given a

  3             subpoena does not mean that it is going to any

  4             higher level.       They're just investigating.

  5                             By the way, Judge, Michigan Rules of

  6             Professional Conduct and the rules that govern

  7             the operation of the Attorney Grievance

  8             Commission requires that all of that remain

  9             confidential.       Mr. Drazin has violated that rule

10              twice by bringing to the Court's attention the

11              fact that Ms. Ingram filed that against me.                 And

12              she did it, I might add, in connection with an

13              attorney who was representing her before we

14              decided not to represent her.

15                              THE COURT:      Didn't you kind of open




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              the door because you said you had not heard

17              anything for two years; isn't that really

18              disclosing confidential information if you bring

19              that point up; didn't you just open that door

20              when you said that?

21                              MR. DAILEY:      Judge, I didn't raise

22              that issue in the last hearing.             That was raised

23              by Mr. Drazin in the last hearing, so I

24              responded.      I'm trying to be forthright and

25              forthcoming to this Court.            The Court has




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 67 of 205
                                                                                 13


  1             significant duties and responsibilities here

  2             which I perceive the Court attempting to meet

  3             with great professionalism, and I appreciate

  4             that.     It's my duty to provide information to the

  5             extent I can.       It doesn't mean I have to agree

  6             and Mr. Drazin can continually berate me as he

  7             has in the hearings.

  8                             The last time he told me I stole her

  9             money.     That's not true.        I didn't steal

10              anything.      Everything I've done is according to

11              the Rules of Professional Conduct and the

12              Michigan Court Rules.          I have contingency

13              agreements that have been in place since 2016 and

14              '17 signed by the client with notice and sat down

15              with me in terms of the ARISA claim, which I




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              think is the biggest issue in terms of most of

17              these lawyers here, there's an ethics opinion

18              that supports my fees that were paid to me; they

19              were paid to me and they all know that.

20                              THE COURT:      Mr. Dailey, we keep going

21              in circles here.         All I want you to do is put

22              back the money; that's what I ordered you to do.

23                              MR. DAILEY:      And I can't because I

24              don't have it.

25                              MR. SULOLLI:       Your Honor, there's




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 68 of 205
                                                                                   14


  1             been no good-faith attempt for Mr. Dailey to pay

  2             anything.      He didn't even put the money in that

  3             he told you and told us he had, the $260,000.                 He

  4             simply chose to ignore your order.              There's no

  5             good-faith effort.         If Mr. Dailey at least had

  6             paid that amount, I would get some argument here

  7             in terms of what he's trying to same.                He didn't

  8             even do that at a minimum.

  9                             MR. DAILEY:      Your Honor, if I may,

10              when we were at the last hearing, I did ask the

11              Court to allow me to do that and the Court said

12              no.

13                              THE COURT:      It wasn't 255; what was

14              the amount you stated at that time?

15                              MR. DAILEY:      $155,000.




                                                                                        RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              THE COURT:      That's a difference of

17              $100,000 from what you stated.             I want that clear

18              because when you did suggest that, I said that

19              was not good enough.

20                              MR. DAILEY:      Right.

21                              THE COURT:      It was not 255,000.

22                              MR. DAILEY:      Thank you Judge, for

23              pointing that out.         I appreciate that.

24                              THE COURT:      Somebody else want to --

25              go ahead counsel.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 69 of 205
                                                                                 15


  1                             MR. HAVENS:      Just not this Court

  2             originally ordered Mr. Dailey to interplead the

  3             funds back in February.           We're four months out.

  4             Every time we come it's the same story, same song

  5             and dance.      I'll just note again that $155,000

  6             your Honor did order him to interplead $600,000.

  7             He did indicate at all times he could interplead

  8             $155,000.      I don't think the Court told him you

  9             can't interplead $155,000.            I think we'd all

10              agree if there was any showing of good faith

11              whatsoever and this wasn't willful, he would at

12              least interplead what he does have.              He's saying

13              he can't comply with the Court's order.                You'd

14              think that for somebody who's under court order

15              they would comply to the extent that they can.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              To Mr. Dailey's point, we're here

17              today asking the Court to order -- order Mr.

18              Dailey to come forth and show cause why he should

19              not be held in contempt.           For that kind of

20              hearing it's pretty straight forward.                The

21              Court's got an order he hasn't complied with.

22              It's a relative routine matter that the Court

23              would issue that order.           And if he needs time to

24              find an attorney to appear and argue why he

25              shouldn't be held in contempt, that's a different




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 70 of 205
                                                                                 16


  1             matter than what we're here for today, which is

  2             asking the Court to issue an order for him to

  3             come to court at a later date and show cause.

  4                             MR. DAILEY:      Your Honor, I just want

  5             to point out that, and I want to remind all

  6             counsel that when I did the analysis of the

  7             attorneys fees or the payment of attorney fees on

  8             ARISA claims, my contingency fee agreement says

  9             that I can do one or two things.             I can take my

10              fees out of any lump sum that is provided, but if

11              there's no lump sum and I have a fund of money

12              over which I have a possessory lien, which she

13              gave me in my fee agreements, then I can take

14              one-third of the present value of the total

15              lifetime payments.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              I hired an accountant to figure out

17              what was the one-third value and total -- the

18              present value of the total lifetime payments, and

19              I'm looking at taking one-third of that.                I

20              decided I didn't want to do that.             So I already

21              reduced my fees on the ARISA claims to one-third,

22              which she entitled me to, to just 20 percent,

23              Judge.

24                              It's not like I'm not trying to work

25              with these people.         And the other, Judge, because




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 71 of 205
                                                                                  17


  1             I think it's really important, you take a look at

  2             all of the bills that's been submitted by all of

  3             these providers, they add up to not much more

  4             than $155,000.           That's at full amount, which no

  5             medical provider, no medical provider ever gets.

  6             They always have to reduce it in order to take

  7             into consideration the attorney fees that were

  8             paid in order to create that fund.               And if this

  9             goes according to the way it should go and the

10              way it normally goes, then every single one of

11              these providers that were reduced by one-third

12              would recognize attorney fees Ms. Ingram paid, we

13              would be done with this within that $155,000.

14                              In addition to that, Judge --

15                              THE COURT:       You can argue in mirror.




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              I don't want to hear about that.              All I want to

17              hear about is I ordered the money be put back in

18              place.     You can make that argument at the

19              appropriate time, but you are in violation of my

20              order to put the money back.             You keep wanting to

21              go into what should have been paid off or paid

22              on, or whatever.           I don't want to hear that.

23                              MR. DAILEY:       I understand.

24                              THE COURT:       All I want to hear is

25              that I ordered you to put the money back.                 You




23-45970-mlo   Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00   Page 72 of 205
                                                                                     18


  1             have either refused, or whatever you want to

  2             describe it as; you don't have the money; the

  3             money is gone, whatever description you have.                   I

  4             ordered you to put the money back and you didn't.

  5             That's all I'm looking at today.

  6                             MR. DAILEY:      I want to be clear.

  7             I've not refused, absolutely not.             I would not

  8             refuse to follow the Court's order.              I can't

  9             follow the order; it's an impossible order for me

10              to follow.      I don't have the resources to do so.

11              I'm not refusing to follow your order, Judge.                   In

12              fact, I've never refused an order of you.                I've

13              shown up at every hearing.            I've produced what

14              you told me to produce that was in my power to

15              produce.      I've done everything I'm supposed to




                                                                                          RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              do.

17                              THE COURT:      Except pay the money,

18              which is what I want you to do.             You've done

19              everything but pay the money back.              You keep

20              telling me you're doing everything that I ordered

21              you to do.      All I want you to do is one thing;

22              put money back.          I don't care about everything

23              else.     That doesn't matter right now.             We'll deal

24              with that issue at the appropriate time.                You

25              didn't even put an extra dollar from the amount




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 73 of 205
                                                                                 19


  1             you say you owe.

  2                             MR. DAILEY:      I don't understand, your

  3             Honor.

  4                             THE COURT:      Not even a dollar more,

  5             right?

  6                             MR. DAILEY:      I don't understand what

  7             you're saying.

  8                             THE COURT:      What number are you

  9             saying you still have in the bank?

10                              MR. DAILEY:      155,000.

11                              THE COURT:      Did you come to this

12              Court and say, well, I don't have the 600; I have

13              another 100,000 or 200,000 to put back?

14                              MR. DAILEY:      I don't have another

15              100,000 to put back.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              THE COURT:      Okay.

17                              MR. DAILEY:      The thing is, it is not

18              sufficient for you to find a violation to order

19              me to show cause.         You have to find a willful

20              violation.      There's no evidence here in relation

21              to that accept my evidence and my testimony I

22              don't have the money.          There's nobody that

23              testified or can testify that there's a willful

24              violation of your order.           I'm testifying --

25                              THE COURT:      That's your opinion, Mr.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 74 of 205
                                                                                 20


  1             Dailey.

  2                             MR. DAILEY:      I understand.

  3                             THE COURT:      We'll see.

  4                             MR. DAILEY:      I'd like to have an

  5             evidentiary hearing, Judge, on that issue.

  6                             THE COURT:      Who else?

  7                             MR. HAVENS:      I would just note I

  8             don't now if we're here today to argue what

  9             willful and what's not.

10                              THE COURT:      We're not, so I don't

11              want to go into that.

12                              MR. HAVENS:      I think there would be a

13              willful violation to an extent, which would be to

14              the extent he's capable of paying back, which he

15              willfully hasn't?




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              MR. DAILEY:      I disagree with that,

17              Judge, and I object to those comments in view of

18              the fact that you yourself just remarked that I

19              offered to do that and was told that wasn't good

20              enough by this Court.          So for Mr. Haven to

21              continue arguing that point I think is

22              disingenuous and improper.

23                              THE COURT:      Go ahead, Mr. Green.

24                              MR. GREEN:      I think at this point we

25              know that the order hasn't been complied with




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 75 of 205
                                                                                  21


  1             maybe the remedy at this point would be to

  2             appoint a receiver in the interim to gain

  3             compliance with the Court's order separate and

  4             apart from any issues about contempt.                I

  5             understand Mr. Nathanson is here.             He has another

  6             matter apparently before the Court, but he is

  7             experienced as a receiver.            He might be somebody

  8             the Court would consider at this point.                  Really I

  9             have nothing further to add other than that.

10                              MR. DAILEY:      Your Honor, may I

11              respond.

12                              THE COURT:      Go ahead.

13                              MR. DAILEY:      I think you need make to

14              a decision as to whether or not there was a

15              willful violation before you take any remedial




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              action.     I need an evidentiary hearing and

17              counsel on that issue; that's the second thing.

18              The third thing is Mr. Nathanson is here because

19              he's watching this hearing because he and I are

20              involved litigation right now where we have

21              motions up in front of Judge Gibson.                 Mr.

22              Nathanson has filed a request for investigation

23              against me as a result of that litigation.                  He

24              clearly is a biased individual.             He's not

25              qualified to serve in capacity of receiver.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 76 of 205
                                                                                 22


  1             There's no basis upon which to appoint a receiver

  2             because this Court has not made a decision as to

  3             whether or not there's a willful violation.                 As I

  4             understand it, the Court is going to hold another

  5             hearing to determine if there's a willful

  6             violation at which I want to be represented by

  7             counsel.

  8                             THE COURT:      You keep saying you want

  9             to be represented by counsel.             What's stopping

10              you from doing that?          Isn't that something you

11              said you were working on doing last time?

12                              MR. DAILEY:      I did.     I've spoken with

13              a number of attorneys, and I have been unable to

14              find one who feels qualified to handle this case.

15              And I'm still looking.          I'm doing the best I can.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              The attorney I told you I was meeting with after

17              the last hearing, I did.           They were not willing

18              to represent me on it.          So I'm doing the best I

19              can.

20                              THE COURT:      Let me ask you this; how

21              many attorneys have you talked to since the last

22              hearing?

23                              MR. DAILEY:      Five.

24                              THE COURT:      From the five you were

25              unable to retain any of them.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 77 of 205
                                                                                  23


  1                             MR. DAILEY:      That's correct.         It's

  2             not because I can't retain them, it's because

  3             they were not willing to be retained.                There's

  4             not a lot of people, far as I can tell, with

  5             experience and comfort in civil contempt

  6             proceedings.       I can give you in camera the names

  7             of the attorneys I contacted, Judge.

  8                             THE COURT:      I'm okay not knowing

  9             right now.

10                              Anybody else?       Ms. Downey.

11                              MS. DOWNEY:      If the Court is

12              intending to hold a hearing at a later date to

13              determine whether or not the noncompliance was

14              willful or not willful, I'd request that we have

15              an opportunity to have forensic accountants




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              investigate what assets and liability the firm

17              and Mr. Dailey actually has so we're in position

18              to argue from a basis of fact as to whether there

19              was or was not an ability to comply.                 That's all

20              I have.

21                              MR. DAILEY:      Your Honor, that sounds

22              like a collection action.           There's never ever a

23              basis upon which to institute collection

24              procedures before there's a finding or before

25              there's a judgment.          I would object to that.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 78 of 205
                                                                                      24


  1                             MR. DRAZIN:      Your Honor, if I may,

  2             Mr. Dailey is telling the Court repeatedly he

  3             doesn't have the funds to obey your order.                 The

  4             only way to make that determination would be

  5             appoint00 a receiver.          My understanding is Ms.

  6             Downey talked to Plante Moran who has people well

  7             experienced in this area and glad to serve.                    I've

  8             spoken with another attorney same kind of

  9             experience and would be glad to serve.                I would

10              ask the Court if you order a receiver to comment

11              on the truthfulness of Mr. Dailey that he has no

12              money, that that be done at the sole expense of

13              Mr. Dailey.

14                              MR. DAILEY:      Your Honor, I can show

15              the Court and I can show counsel proof of the




                                                                                           RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              distributions that have been made and to whom

17              they've been made from the funds of money that

18              was received in the settlement.             Mr. Sulolli's

19              partner received approximately $50,000 of the

20              funds with permission from Ms. Ingram early on

21              because Mr. Goodman had a valid lien for Life

22              Skills Village.          He presented it early on.         I

23              talked to my client about it.            My client approved

24              it.

25                              My point is you don't need a forensic




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 79 of 205
                                                                                  25


  1             accountant for me to show where the money went.

  2             The money I have in my trust account belongs to

  3             other clients in addition to Ms. Ingram or these

  4             providers to the extent of $155,000.                 So I can

  5             within seven days put together the accounting

  6             showing what the distributions were and with the

  7             back up showing checks and wire transfers to the

  8             extent they exist.         In the nature of a collection

  9             action there's been no judgment made here.                  I'm

10              asking the Court to not appoint that.

11                              A receiver would have far greater

12              powers than necessary here.            There's just an

13              accounting that's due.          I did an accounting.

14              Nobody ever asked me for further detail.                 I'm

15              happy to provide it.          I'm more than happy to show




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              where the funds had gone.

17                              THE COURT:      Mr. Green.

18                              MR. GREEN:      Thank you, your Honor.

19              The more I'm hearing, the more I'm thinking a

20              receiver is a good idea.           He's an arm of the

21              Court.     He can enforce compliance with this

22              Court's order or be that third party to tell the

23              Court what can and cannot come from the estate.

24              I think for our purposes it's probably the best

25              way to go.      Again, we're not relying on argument




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 80 of 205
                                                                                  26


  1             of counsel.       He's an arm of the Court, whether

  2             it's Mr. Nathanson or someone else.              I've got a

  3             couple other names I can thing of.

  4                             THE COURT:      If I consider it, I

  5             certainly want somebody who's not connected to

  6             this case or any of the parties involved.

  7                             MR. GREEN:      One name that comes to

  8             mind is John Polderman.           I think that's probably

  9             the best way to approach this issue.                 I know he

10              does quite a few of these things.

11                              MR. DAILEY:      Your Honor, wouldn't it

12              be better to start out with an accounting that

13              has details showing copies of checks and

14              distributions and wire transfers and transfers?

15              I can show --




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              THE COURT:      I'm thinking it may be a

17              good start and spot for a receiver.              It may be a

18              good spot for a receiver to look at.

19                              MR. DAILEY:      Your Honor, what I'm

20              suggesting is the Court allow me to put that

21              together and submit it to all counsel.                 Then if

22              they have a problem with what I submitted, I'm

23              sure they won't because they'll be all documents

24              from the bank unquestionable and show to the

25              penny what's left and what's been distributed on




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 81 of 205
                                                                                 27


  1             Jody Ingram's behalf.          I think it's better to

  2             start with that because I don't think we would

  3             need to have a receiver.

  4                             If the Court wants a receiver after I

  5             submit that, then that's something the Court

  6             should consider.         But right now nobody ever asked

  7             me for that detail.

  8                             THE COURT:      I think we're a little

  9             beyond that right now.          I don't speak on behalf

10              of anybody.       I'm saying as far as I'm concerned,

11              I think we're a little beyond that.

12                              Who else wants to jump in and say

13              anything?

14                              MR. HAVENS:      I concur with the

15              request for a receiver.           I understand what Mr.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              Dailey is suggesting but it's not as if all

17              counsels are here alleging this $600,000 is still

18              sitting in his IOLTA Trust Account.              We have no

19              doubt that he made himself to the tune of

20              $450,000.      I don't think that's really in

21              dispute.      It's a question about whether he

22              complied with this Court's order.             I think an

23              accounting by a neutral third party is the best

24              way to get us, as Ms. Downey said, on a factual

25              footing in that regard.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 82 of 205
                                                                                 28


  1                             MR. DAILEY:      My response just is all

  2             I'm telling you is based upon the last comment

  3             that I heard, They've already assuming you made a

  4             finding of willful violation of your order.

  5             They're already going to collection procedures

  6             which is inappropriate, unsupportable in the law.

  7                             MR. DRAZIN:      Your Honor, if I may.

  8                             THE COURT:      Go ahead.

  9                             MR. DRAZIN:      The request for the

10              appointment of a receiver isn't solely directed

11              toward any disbursement Mr. Dailey made.                It's

12              based upon whether Dailey's statement he can't

13              afford to put the money in the account is correct

14              or not.     And that means the receiver has to go

15              beyond just the money Mr. Dailey computed Ms.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              Ingram was entitled to.           Well, I'll be quiet.

17                              MR. DAILEY:      Again, Judge, they're

18              arguing now as if you've already found I

19              willfully violated your order.             You haven't found

20              that as far as I know.          That's collections

21              procedures, which are never ever appropriate

22              until there's a finding of something to collect,

23              until there's a judgment or an order finding

24              there's a debt.

25                              I understand that you ordered me to




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 83 of 205
                                                                                 29


  1             pay back $600,000.         I've told you a million times

  2             that I would adhere to your order if I could, but

  3             I've already distributed funds from that fund.

  4             So what I have is $155,000.            I've offered last

  5             time to pay that as the court order; the Court

  6             didn't think that was good enough.              I've done

  7             everything I can do.          And to put a receiver on to

  8             do a creditor exam, which is what they're asking

  9             for, is inappropriate and it's unsupported.

10                              I would ask that the Court schedule

11              an evidentiary hearing, make a determination

12              after that evidentiary hearings as to whether it

13              was a willful violation and fashion what ever

14              remedy the Court think is appropriate.

15                              THE COURT:      It not about collection.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              It's about you telling the Court you don't have

17              the money to pay to put back into the account; is

18              it not?

19                              MR. DAILEY:      That is collections.

20                              THE COURT:      How's that collections?

21                              MR DAILEY:      Because what you're doing

22              here is taking money -- what you're attempting to

23              order me to take money that's already been paid

24              to me and put it back in the court four years

25              later; that is collection.            In other words, it's




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 84 of 205
                                                                                 30


  1             tacit to a finding that my fees were not

  2             appropriate.       There's been no finding to support

  3             that.     It is collections.        Those funds have

  4             already been paid to me by permission of my

  5             client pursuant to the contingency agreement

  6             supported by Michigan Court Rules, the ethics

  7             opinion.      That's what you're doing.          That's why

  8             I'm asking the Court to hold an evidentiary

  9             hearing before you fashion any remedial relief.

10                              THE COURT:      Somebody else wanted to

11              say something?

12                              MR. SULOLLI:       Mr. Dailey is entitled

13              to make a claim.         What he's entitled (inaudible)

14              the money put in the fund.            That's why you

15              ordered $600,000 to be put in.             It doesn't




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              distinguish Mr. Dailey's ability to argue he's

17              entitled to X amount of dollars and that's the

18              evidentiary hearing.          For Mr. Dailey to suggest

19              let's have an evidentiary hearing and let me give

20              you an accounting, how do we know if that

21              accounting is correct if we don't have an

22              independent party to look at his financial and

23              determine whether, in fact, he's accurate in

24              terms of his inability to pay and whether or not

25              that was willful or not.           How do we not establish




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 85 of 205
                                                                                 31


  1             that if we don't have an independent party come

  2             in and look at his financials?

  3                             MR. DAILEY:      The way they will know

  4             is by looking at what I provided in terms of back

  5             up and the detail showing where the $600,000

  6             went.     His partner --

  7                             THE COURT:      What you want me to do is

  8             go through this process only to come back in four

  9             to six months and be where we're at today.

10                              MR. DAILEY:      No, Judge, I don't.         I

11              want you to hold an evidentiary hearing on all

12              issues here before making any remedial decisions.

13              And do it as quickly as you can.             Do it in two

14              weeks; do it in a week.           Give me the time I need

15              in order to present these issues to the Court.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              I'm sure the Court will be satisfied that I've

17              been honest, forthright and professional, that

18              I'm entitled to the fees that I took, I was paid.

19              That's what I'm asking for.            I'm asking you to

20              put the cart behind the horse not the other way

21              around.     What they want to do is have you start

22              collection procedures and creditor hearings

23              before you even determine if that's a necessary

24              issue.

25                              The $50,000 that was paid to Barry




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 86 of 205
                                                                                    32


  1             Goodman, Mr. Sulolli's partner, would have to

  2             come back into the court, too.             Why would I have

  3             to make up $50,000 that somebody else got with

  4             permission from my client in 2018?

  5                             THE COURT:      Mr. Havens, you wanted to

  6             say something?

  7                             MR. HAVENS:      Yes.    To the extent it's

  8             on the table about whether or not the Court has

  9             power to order a receiver, I think the law is

10              clear, I've done research while sitting here.                   I

11              turn the Court's attention to MCL 600.2926 which

12              circuit court judges in the exercise of their

13              equitable powers may appoint receivers when cases

14              allow by law.       I don't think there's any law in

15              this circumstance that disallows it.                 Again, I




                                                                                         RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              think Mr. Dailey is --          I think it's him putting

17              the cart before the horse that is our argument

18              this is some kind of situation where willfulness

19              is presumed.       We don't even get there until we

20              have an accurate factual footing.             That what a

21              receiver would do.

22                              MR. DAILEY:      Your Honor, the receiver

23              would do far more than that.            Unless the Court is

24              going --

25                              MR. HAVENS:      The same statute I




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 87 of 205
                                                                                   33


  1             quoted says the Court has the inherent power to

  2             define and limit the duties of the receiver, so

  3             to the extent Mr. Dailey believes there's a risk

  4             that a receiver would go too far, this Court can

  5             express concerns.         And this Court can

  6             specifically define the role and duties and

  7             limitations of the receiver in this situation if

  8             one were to be appointed.

  9                             MR. DAILEY:      Your Honor, if the

10              defendant counsel wants to put together a name or

11              two names of accountants they would propose as

12              witnesses, I can provide those accountants the

13              documentation they would need in order to

14              determine what it is they're looking for in terms

15              of the distribution and the diminution of this




                                                                                        RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              fund.     What they keep asking for is tantamount to

17              a creditor's exam.         With all due respect --

18                              THE COURT:      I don't get that.        I

19              don't know why you keep going to this creditor

20              exam and collection when a receiver is mentioned.

21              I don't know why you keep wanting to --

22                              MR. DAILEY:      Here's why, Judge.          The

23              reason why is because the funds that they want me

24              to pay back that you ordered me to pay back, the

25              fund that have already been distributed by




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 88 of 205
                                                                                 34


  1             permission of Jody Ingram.            $50,000 of it was

  2             distributed to Tim Sulolli's partner, Barry

  3             Goodman, because he presented a valid lien.

  4                             Now what you're telling me to do is

  5             go to Barry Goodman and tell Barry Goodman to cut

  6             a check for $50,000 back into the Court.                I

  7             brought this to the Court's attention last time,

  8             and the Court said, no, I'm not going to make him

  9             do that.      You pay it.      So it's already been taken

10              out of the $600,000.          This is a taking from Brian

11              Dailey without adequate support legally to do so;

12              that's what this is.          I am quite positive if they

13              want to hire an independent accountant to look at

14              the documentation I'm proposing to provide to

15              them, they'll be more than satisfied that the




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              funds have been distributed pursuant to

17              permission from Ms. Ingram.

18                              There's no need to appoint a

19              receiver.      I'm not suggest the Court doesn't have

20              the authority to do that, but there has to be a

21              need for it, and there is no need for it.

22                              THE COURT:      If you don't think

23              there's a need for it after all these hearings

24              and all these claims, I must be missing

25              something.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 89 of 205
                                                                                   35


  1                             MR. DAILEY:      Not to say you're

  2             missing anything, Judge.

  3                             THE COURT:      I must be because if any

  4             case -- I'll be honest with you.             I thought about

  5             a receiver even before it was mentioned because

  6             if any case probably needs a receiver it's this

  7             case.

  8                             MR. DAILEY:      I respectfully disagree,

  9             Judge.     I think it's a fairly simple case to show

10              what happened to the $600,000.

11                              THE COURT:      You keep saying that but

12              obviously that hasn't been the case.

13                              Mr. Havens, go ahead.

14                              MR. HAVENS:      I think Mr. Dailey

15              already made the distinction and we already know,




                                                                                        RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              let me prove to you that I paid myself $450,000.

17              We know we paid himself $450,000.             The question

18              then is where is that money.            He said he doesn't

19              have it.      He can't pay it back.         Where is it?      To

20              the extent he can't pay it back I think we all

21              deserve that factual footing to know exactly what

22              he can pay back.

23                              THE COURT:      I'll give you the last

24              word, Mr. Dailey.

25                              MR. DAILEY:      I tell you exactly where




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 90 of 205
                                                                                  36


  1             it went.      It went to rent.         It went to health

  2             insurance.      It went to malpractice insurance.

  3             It's funds that were put into an office that I

  4             earned legitimately pursuant to contingency

  5             agreements approved and signed by my client,

  6             received for the work called for in those

  7             agreements.       That's where it went.          Everything

  8             else is taking money out of my pocket.                 That is

  9             not appropriate.           This is not a collection

10              action.     That's it, Judge.          I made my argument.

11                              I just really want to make one last

12              argument.      I'm entitled to counsel in a hearing

13              involving contempt.           I'm asking the Court to

14              allow me to do that, to have counsel.

15                              THE COURT:       Anybody that has not said




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              anything wants to say anything before --

17                              I know somebody mentioned the name of

18              Holderman (sic).           Did somebody say Holderman?

19                              MR. DRAZIN:       It's Polderman; P as in

20              Paul.

21                              THE COURT:       Okay.    Polderman.      I'm

22              going to appoint -- is John the first name?

23                              MR. HAVENS:       Correct.

24                              THE COURT:       I'm going to appoint him

25              as a receiver.           I think this case needs a




23-45970-mlo   Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00   Page 91 of 205
                                                                                 37


  1             receiver.      We keep going in circles as far as

  2             what the arguments are.           And we'll come back.

  3             I'm going to go ahead and sign the Order to Show

  4             Cause today.       We'll come back in 30 days or so

  5             hopefully with the receiver in attendance to see

  6             what is going on.

  7                             MR. DAILEY:      Can I ask what you're

  8             allowing the receiver to do.            Is it just related

  9             to the $600,000; are you allowing him to see my

10              personal assets and finances?            I think you need

11              to define that.

12                              THE COURT:      Let's start with him just

13              seeing regarding the $600,000.             I'm not going to

14              give him a blank check just yet.             We'll deal with

15              as far as the $600,000 is concerned.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              MR. DRAZIN:      Your Honor --

17                              MR. DAILEY:      I'm not finished, Mr.

18              Drazin.

19                              Thank you very much, Judge, for that.

20              We'll submit an order.          My other question is, in

21              the last hearing we submitted an order and the

22              Court rejected it telling us to follow the court

23              rules.     We need that order entered.           It was an

24              order denying motion for summary disposition

25              limiting Blue Cross Blue Shield's claim.                I'd




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 92 of 205
                                                                                  38


  1             like to know how do you want me to submit that

  2             order.

  3                             THE COURT:      That was granted last

  4             time, was it not?         I think Mr. Dailey isn't that

  5             something we addressed last time?

  6                             MR. DAILEY:      You did grant it, but

  7             didn't enter an order.          We need an order.        Your

  8             court indicated that they were not going to enter

  9             the order I submitted.          I was just wondering how

10              to get it entered.

11                              THE COURT:      Hold on.     Eric or Debra.

12                              THE LAW CLERK:       We can do July 28th

13              at 9:30.

14                              THE COURT:      No, not the date.        I need

15              to find out what happened.




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              THE CLERK:      On the order I would have

17              to do an investigation.

18                              THE COURT:      We'll look into that

19              today, Mr. Dailey.

20                              MR. DAILEY:      Who should I call back

21              to find out about that order?

22                              THE COURT:      We'll be in touch.        Did

23              you get a copy of that order, Mr. Stec?

24                              MR. STEC:      Yes, sir.     It was limited

25              to (inaudible) I agree to that.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 93 of 205
                                                                                   39


  1                             MR. DAILEY:      The order that I

  2             submitted, Judge, was more than just that.                 I was

  3             a whole bunch of things that this Court ordered.

  4             I can re-submit it if you want.

  5                             THE COURT:      Well, make sure Mr. Stec

  6             gets a copy of it first.

  7                             MR. DAILEY:      I'll make sure everybody

  8             does.     I'll submit it through the MiFile.

  9                             THE COURT:      I'll take a look at it.

10                              MR. DRAZIN:      Your Honor, if I may, is

11              Mr. Polderman being appointed at attorney

12              Dailey's expense?

13                              MR. DAILEY:      I object to that, Judge.

14                              THE COURT:      It is at your expense,

15              Mr. Dailey.




                                                                                        RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              MR. DAILEY:      It's at my expense?

17                              THE COURT:      Yes.

18                              MR. DAILEY:      May I ask the Court the

19              basis upon which I'm required to pay for their

20              expert?

21                              THE COURT:      Go ahead, Mr. Green.

22                              MR. GREEN:      The receiver is an arm of

23              the Court.      He's not anybody's expert.            He does

24              not represent the interest of the parties.                 He is

25              there as an arm of the Court.            For that purpose,




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 94 of 205
                                                                                  40


  1             as I understand and correct me, your Honor, if

  2             I'm wrong, he's there to enforce the Court's

  3             order, to get the Court's order complied with

  4             that $600,000 is to be placed into escrow.

  5                             MR. DAILEY:      Your Honor, there's no

  6             basis upon which to support me having to pay the

  7             cost.

  8                             THE COURT:      The basis that I have is

  9             simply I want him to basically help me enforce

10              the order that I signed already.             I'm ordering

11              that you pay for the receiver.

12                              MR. DAILEY:      Your Honor, I'm

13              objecting.      I'm asking the Court to --.

14                              THE COURT:      You can objection all you

15              want, Mr. Dailey.         I'm telling you it's at your




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              expense.

17                              MR. DAILEY:      I understand.

18                              THE COURT:      Anything else?

19                              Eric, give me a date; what's the day

20              that we have?

21                              THE CLERK:      July 28th at 9:30.

22                              MR. DAILEY:      Your Honor, my

23              disability goes through August 12th.                 Can we put

24              it after?

25                              THE COURT:      Your disability as to




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 95 of 205
                                                                                 41


  1             what?     This is the doctor who told you cannot be

  2             at hearings or trials?

  3                             MR. DAILEY:      He told me to avoid

  4             hearings and trials.          To the extent that I can't

  5             adhere to his order, I'd like to.             After today's

  6             hearing, my voice is going to be shot.                Every

  7             time I do something like this, it delays me

  8             getting better.          So I'm asking this Court to put

  9             it at the end of August so I can get through

10              that.

11                              MR. SULOLLI:       Your Honor, this is the

12              same attorney who argued a few minutes ago we can

13              have an evidentiary hearing in two weeks.

14                              MR. DAILEY:      Your Honor, I'm planning

15              on bringing counsel with me.




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                              THE COURT:      You can bring one July

17              28th.

18                              MR. DAILEY:      I'm asking the Court for

19              accommodation for my health condition.

20                              THE COURT:      Mr. Dailey, I can

21              appreciate your health concerns, but the 28th

22              will give you enough time I think.              This is six

23              weeks away from today.

24                              MR. DAILEY:      Okay, Judge.        I'm just

25              trying to do what my doctor told me.




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 96 of 205
                                                                                   42


  1                             THE COURT:      I understand and

  2             appreciate what you're saying.             We'll see you on

  3             the 28th at --

  4                              -- what time do we have, Eric?

  5                             THE CLERK:      9:30.

  6                             MR. DAILEY:      Will this be by Zoom,

  7             Judge?

  8                             THE COURT:      We'll keep you posted.         I

  9             think I might have everybody come in for that.

10              We're starting to get people back in person.

11              We'll keep you posted.          If it's going to be in

12              person, we'll let you guys know.

13                              MS. EMERSON:       Your Honor, I also have

14              a motion before the Court today.             It's our motion

15              to assert a claim against Dailey Law as well as a




                                                                                        RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              third-party complaint against Brian Dailey.

17                              MR. DAILEY:      We would resist that,

18              your Honor.       Long time passed to bring a

19              counterclaim.       It would be a statute of

20              limitation issue.         I object to any amendment to

21              bring in counterclaims.

22                              MS. EMERSON:       Your Honor, there is no

23              statute of limitations issues pursuant to MCR

24              2.118(A)(2), leave to amend shall be freely

25              granted as justice requires.            Alternatively, we




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 97 of 205
                                                                                  43


  1             should be allowed to amend our answer to assert a

  2             counterclaim and third party complaint to conform

  3             to the pleadings in this case based upon the

  4             information that has arisen with respect to Mr.

  5             Dailey's failure to interplead funds as required

  6             by this Court.           As a reminder, Mr. Dailey filed

  7             this case in 2021 asking this Court to determine

  8             how funds should be distributed to providers.

  9             Thereafter, he refused to interplead any money.

10                              He has admitted he has over $150,000

11              that are a part of the settlement proceeds that

12              he has not even interplead into this court

13              despite the fact he filed this lawsuit requesting

14              that amounts be distributed.             There's no

15              prejudice.      This information has recently come




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              about at the last hearing.             At that last hearing

17              status conference, the Court ordered several

18              parties, including my client M-1 Imaging to amend

19              our answers to attach liens showing that we did,

20              in fact, have proper claim in this case.

21                              Based upon the recent court order of

22              amendment we believe there's no prejudice.

23              There's no bad faith as we found this information

24              out recently and continues to develop.                 It's

25              clear based upon this case being pending for two




23-45970-mlo   Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00   Page 98 of 205
                                                                                  44


  1             years and Mr. Dailey failed to interplead any

  2             funds, it's our assumption he will not do so.

  3             For that reason we'd like to assert a

  4             counterclaim against Dailey Law Firm and third

  5             party complaint against Brian Dailey.

  6                              We've attached a copy of our amended

  7             answer which includes the counter complaint and

  8             third-party complaint to our motion; it's Exhibit

  9             B.      We request that the Court enter that Exhibit

10              B attached to our motion and otherwise we rest

11              and rely on our motion as filed with this court.

12              Thank you.

13                               MR. DAILEY:      Your Honor, I

14              respectfully object and ask the Court to deny

15              that relief.




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                               THE COURT:      Based on what?

17                               MR. DAILEY:      It's not timely.        This

18              has been in place since 2021.             There's no

19              counterclaim against Brian Dailey individually.

20              Brian Dailey individually has no responsibility

21              whatsoever.        If anything, it's Dailey Law Firm

22              and Dailey Law Firm doesn't have any

23              responsibility except $155,000.              I understand

24              there are different opinions on that, but that is

25              my position.        And there is no reason for a




23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 99 of 205
                                                                                     45


  1              counterclaim against attorney Brian Dailey.                  This

  2              is all Dailey Law Firm, and Dailey Law Firm can

  3              still assert a statute of limitations.                In

  4              addition to that Dailey Law Firm has never been

  5              involved in a contractual relationship with any

  6              of these parties.         It's always been Ms. Ingram

  7              not Dailey Law Firm or Brian Dailey.                There's no

  8              basis upon which to allow amendment for

  9              counterclaims.

 10                              MS. EMERSON:      Your Honor, pursuant to

 11              MCR 2.118(b)(1) amendments are routinely granted

 12              to conform to the pleadings in the case or

 13              discovery in the case.          We recently discovered he

 14              continuously fails to interplead funds he had

 15              admitted he has.        We think based upon that we




                                                                                          RECEIVED by MCOA 7/11/2023 1:11:58 PM
 16              have a basis to assert a counterclaim regardless

 17              it seems like he's arguing to the merits of our

 18              counterclaim and third-party complaint.                We

 19              believe under Michigan Court Rule we have basis

 20              to file those claims.          Again, those amendments

 21              are granted freely as justice requires.                We

 22              believe justice requires an amendment based on

 23              the facts that have developed in this case.

 24                              MR. DAILEY:      Your Honor, briefly,

 25              amendments are granted routinely; I agree.                  But




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 100 of 205
                                                                                       46


  1              it doesn't breathe life in to a statute of

  2              limitations that's expired.               It doesn't give

  3              liability where there is no contractual liability

  4              to begin with.          It doesn't create a cause of

  5              action.     There is no cause of action.                 This would

  6              be a futile amendment.              They need to amend their

  7              answer (inaudible) which is what this Court

  8              ordered when we were before you.                 In terms of

  9              suing Brian Dailey or Dailey Law Firm on any

 10              claim, there is no claim.               Dailey Law Firm and

 11              Brian Dailey never was in any contractual

 12              relationship or agreement with any of these

 13              parties under any circumstances with one

 14              exception, and that is Jody Ingram.                     And Jody

 15              Ingram signed my contingency fee agreements




                                                                                            RECEIVED by MCOA 7/11/2023 1:11:58 PM
 16              approving what I did.              Nobody else has a

 17              contractual against me individually or Dailey Law

 18              Firm.     I would ask the Court to deny that relief.

 19                              THE COURT:          I will decide that later

 20              today.     Anything else?

 21                              MR. DAILEY:          That's it, Judge.

 22                              THE COURT:          Anything else from anyone

 23              else?     You all have a good weekend.

 24                              (Whereupon proceedings concluded.)

 25                              -       -      -




23-45970-mlo   Doc 70   Filed 08/03/23       Entered 08/03/23 09:24:00    Page 101 of 205
                                                                                  47


  1       STATE OF MICHIGAN )

  2                               )      SS

  3       COUNTY OF WAYNE         )

  4

  5

  6                R E P O R T E R' S            C E R T I F I C A T E

  7

  8                      I, Shelee Beard, CSR-5493, do hereby

  9       certify that I have transcribed the ZOOM proceedings

 10       had in the above-entitled matter at the time and place

 11       hereinbefore set forth and that the foregoing is a

 12       true and correct transcript of proceedings.

 13

 14

 15




                                                                                        RECEIVED by MCOA 7/11/2023 1:11:58 PM
 16                            /s/   Shelee Beard
                               Shelee D. Beard, CSR-5493
 17                            770 Coleman A. Young Municipal Center
                               Detroit, MI 48226
 18                            (313) 224-0409

 19

 20

 21

 22

 23

 24

 25




23-45970-mlo   Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00   Page 102 of 205
                          EXHIBIT “F”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 103 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 104 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 105 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 106 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 107 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 108 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 109 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 110 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 111 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 112 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 113 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 114 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 115 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 116 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 117 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 118 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 119 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 120 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 121 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 122 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 123 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 124 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 125 of 205
                         EXHIBIT “G”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 126 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 127 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 128 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 129 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 130 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 131 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 132 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 133 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 134 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 135 of 205
                         EXHIBIT “H”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 136 of 205
                                                                           FILED
                                                                 ATTORNEY DISCIPLINE BOARD
                                                                       October 7,2022

                                      State of Michigan

                                 Attorney Discipline Board

  Grievance Administrator,
  Michigan Attorney Grievance Comrnission,

           Petitioner,                                       Case No:22-77-GA.

  v

  Brian T. Dailey, P39945,
           Respondent.



                                      Formal Complaint

                                 (Parties and Jurisdiction)


             l.     Petitioner, Grievance Administrator, is authorized by MCR
      9.109(8)(6) to prosecute this Formal Complaint by the Attorney Grievance

      Commission, which is the prosecution arm of the Supreme Court for the discharge

      of its constitutional responsibility to supervise and discipline Michigan attorneys.

             2.    As a licensed Michigan attorney, Respondent Brian T. Dailey, P39945,

      is subject to the jurisdiction of the Supreme Court and the Attorney Discipline
      Board as set forth in MCR 9.104.

             3.    Michigan attorneys have a duty to conduct themselves personally and

      professionally at all times in conformity with the standards imposed on members of

      the bar as a condition of the privilege to practice law.




23-45970-mlo       Doc 70    Filed 08/03/23    Entered 08/03/23 09:24:00    Page 137 of 205
          4.      Respondent is a Michigan attorney who was licensed in 1987 and who

   resides or has his place of business in the County of Wayne.



                               COUNT ONE - DAYA CASE

                                  (Factual Allegations)

          5.      On or about early November of 2010, Respondent was retained to

   replace Plaintiffs counsel in Christopher Daya u Onaissa Zahra Bacha and, Fatima

   Bacha, in Wayne County Circuit Court Case No. 09-029003-NI (Doyo).

         6.       On or about November 1, 2010, an Order Granting Plaintiffs Counsel

   Motion to Withdraw was entered by Hon. Robert L. Ziolkowski.

         7.       On or about November 1,2010, Respondent was ordered to reimburse

   Gursten, Christensen and Raitt, PC (Gursten) the full amount of costs totaling

   $5,495.15 that was paid to Respondent.

         8.       Respondent initially agreed to reimburse Gursten per the order, but

   then refused to do so.

         9.       After Gursten made repeated requests for payment from Respondent,

   a Motion to Show Cause was filed in Wayne County Circuit Court in2012.

          10. On March 16,2012, a Hearing on Motion to Show Cause and for Order
   of Garnishment was held before Judge Ziolkowski and Respondent was again
   ordered to repay Gursten $5,495.15 within 10 days.

         I   l.   On March 20, 2012, a seven-day order was submitted to the court and

   on March 27, 2012, the Order Granting Motion to Show Cause and for Order of



                                              2


23-45970-mlo      Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 138 of 205
   Garnishment was entered ordering Respondent to repay Gursten $5,495.15 as

   ordered on March 16,2012.

         12. Over the next two years, Respondent refused to make payment to
   Gursten as ordered on March 16, 2012 and as reflected in the written order dated

   March 27,2012.

         13. On March 5, 2014, a Motion to Quash the November 1, 2010, Order
   Granting Plaintiffs Motion to Withdraw and reimburse Gursten, PC and the March

   27, 20L2, Order granting Motion to Show Cause for Order of Garnishment to

   reimburse Gurston, PC was filed and on March 6,2014, a hearing on the Motion to

   Quash was held before Judge Ziolkowski in Daya to determine if the court would

   set aside the order of March 27, 2012, for the purpose of resolving the outstanding

   attorney fees and costs due to Gursten from Respondent.

         14. Judge Ziolkowski stated on the record that the Order Granting Motion
   to Show Cause and For Order of Garnishment entered on March 27,20L2 was valid

   and accurately reflected his rulings, and that they had not been followed by

   Respondent.

         15. On or about March 20, 2014, an order was entered by stipulation
   between Respondent and Paul Broschay, attorney for Mr. Daya, and Joshua

   Terebelo, attorney for Michigan Auto Law, that Gursten be paid $7,000 for the costs

   owed from the Order dated March 27, 2I02,plus ad.ditional attorney fees pursuant

   to MCR 2.114 from the $10,000 in funds to be received by Respondent.

         16. Respondent did not pay the funds to Gursten as ordered.

                                            3


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 139 of 205
                                (Grounds for Discipline)

         t7.    By reason of the conduct described above in Count One of this Formal

   Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:

               a)   Failed to promptly pay or deliver any funds that a

                    third person is entitled to receive, in violation of
                    MRPC 1.15(b)(3);

               b)   knowingly disobeyed an obligation under the rules

                    of a tribunal, in violation of MRPC 3.4(c);

               c)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fi.tness

                    as a lawyer, in violation of MRPC 8.a@);

               d)   engaged in conduct that is prejudicial to the proper

                    administration of justice, in violation of MRPC

                    e.1oa(1);

               e)   engaged in conduct that exposes the legal profession

                    or the court to obloquy, contempt, censure, or
                    reproach, in violation of MCR 9.104(2); and,




                                            4


23-45970-mlo   Doc 70   Filed 08/03/23      Entered 08/03/23 09:24:00   Page 140 of 205
                f)       engaged in conduct that is contrary to justice, ethics,

                         honesty, or good morals, in violation of MCR

                         e.104(3).


                               COUNT TWO - HERMIZ CASE
                                  (Factual Allegations)

          18. At all times relevant to this complaint, Respondent represented the
   Plaintiff in Sultana Hermiz u Rahul Mahajan and, Rakesh Mahajoz, Macomb
   County Circuit Court, Case No.09-2170-NI (Hermiz).

          19. On or about September 9,20L1, an arbitration award was entered in
   Hermiz in the amount of $60,000.00.

          20. On or about September 9, 2011, Progressive Michigan Insurance
   issued check number 471535850 in the amount of $60,000.00 on a PNC Bank

   account for full and fi.nal settlement of claims.

          21. The check was jointly payable to Sultana Hermiz, The Dailey Law
   Firm, PC and Gursten, Koltonow, Gursten, Christensen & Raitt, PC only.

         22.         On or about September 13, 2011, Sultana Hermiz signed an Invoice for

   Attorney Fees & Costs agreeing to client expenses for Gursten in the amount of

   $1,338.98.

         23. At all times relevant to this formal complaint and prior to 2012,
   Respondent maintained an IOLTA with Talmer Bank (flkla First Place Bank), titled

   DAILEY LAW FIRM PC IOLTA ACCOUNT, account number xxxxxx5575. (IOLTA

   Account #5575).



                                                5


23-45970-mlo     Doc 70      Filed 08/03/23    Entered 08/03/23 09:24:00       Page 141 of 205
         24.    On or about September 13, 2011, Respondent deposited Settlement

   Check No. 471535850 in the amount of $60,000.00 into IOLTA Account #5575.

         25. On September 13, 201I, Respondent drafted the following checks from
   his IOLTA Account #5575:

               a)    Check No. 2108 payable to Dailey Law Firm PC in

                     the amount of $4,368.98 for expenses;

               b)    Check No. 2109 payable to Dailey Law Firm PC in

                     the amount of $18,843.00 for his fee; and,

               c)    Check No. 2110 payable to Sultana Hermiz for

                     $37,087.35.

         26.    Respondent's drafting of check numbers 2108, 2109 and 2110 from

   IOLTA Account #5575 totaled $60,299.33.

         27. Thereafber, Respondent did not pay Gursten for attorney fees ordered
   and Respondent did not hold Gursten's fees in his IOLTA Account #5575.

         28. At all times relevant to this formal complaint and prior to 2012,
   Respondent maintained a Business Account with Talmer Bank (flkla First Place

   Bank, titled DAILEY LAW FIRM, PC, Account Number xxxxxx5525 (Business

   Account #5525).

         29. On or about April 8, 2015, and only afber settlement of Daya, did
   Respondent pay Gursten $1,338.98 with funds from his Business Account #5525

   with Check No. 5525.




                                           6


23-45970-mlo   Doc 70     Filed 08/03/23   Entered 08/03/23 09:24:00   Page 142 of 205
                             (Grounds for Discipline)

         30.    By reason of the conduct described above in Count Two of this Formal

   Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:

               a)   failed to promptly pay or deliver any funds that a

                    third person is entitled to receive in violation of
                    MRPPC 1.15@)(3)

               b)   failed to hold disputed property separate from the

                    lawyer's property until the dispute is resolved in

                    violation of MRPC 1.15(c);

               c)   failed to hold property of clients or third persons in

                    connection with a representation separate from the

                    lawyer's own property, in violation of MRPC 1.15(d).

               d)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.a@);

               e)   engaged in conduct prejudicial to the administration

                    of justice, in violation of MRPC 8.a(c) and MCR

                    9.104(1); and,




                                             7


23-45970-mlo   Doc 70   Filed 08/03/23      Entered 08/03/23 09:24:00   Page 143 of 205
               0       engaged conduct that exposes the legal profession or

                       the court to obloquy, contempt, censure, or reproach,

                       in violation of MCR 9.104(2).



                           COUNT THREE - STEVEN LEHTO

                                  (Factual Allegations)

         31.       Attorney Steven Lehto, (I\tlr. Lehto) and Respondent entered into an

   agreement in or about 2010 whereby Mr. Lehto and Respondent would serve as co-

   counsel on lemon law cases in Michigan.

         32.       Respondent agreed that Mr. Lehto would retain clients, work on files,

   and settle cases remotely while living in Florida and Respondent would attend court

   proceedings in Michigan when necessary.

         33. Respondent agreed that his firm, Dailey Law Firm, PC, would split the
   net value of any settlements, less costs which included 10 percent of the total fee to

   his associate, attorney Justin Grove, and the remaining balance would be split 50/50

   between Mr. Lehto and Respondent.

         34. A retainer fee agreement was prepared to be used in conjunction with
   Michigan "Lemon Law" cases Mr. Lehto would have with Respondent.

         35.       During the years of 2O12-2013, Respondent received settlement funds

   for the following cases shared with Mr. Lehto:

               a)      William Williamson -Williarn Williamson u Ford

                       Motor Co, et al, Wayne County Circuit Court Case


                                             8


23-45970-mlo   Doc 70      Filed 08/03/23   Entered 08/03/23 09:24:00      Page 144 of 205
                    No. 12-001376-CP, filed February I, 2012 and
                    resolved January 22, 2013;

               b)   Renee Vives -Renee Viues u Ford Motor Co. et aI,

                    Wayne County Circuit Court Case No. 12-005256-

                    CP, filed April 18, 2012 and settled March 7, 2013;

               c)   Tamera Malkowski - Tamera Malhowshi u Mazda

                    Motor of America et al,Wayne County Circuit Court

                    Case No. I2-0O0274-CP, filed January 6,2012 and

                    settled March 6,20L3;

               d)   Rochelle Price - Rochelle Price u Chrysler Group,

                    Oakland County Circuit Court Case No. 12-016342-

                    CP, filed January 22, 2OI3 and settled September

                    12,2013;

               e)   Catherine Kuban- Catherine Kuban u Ford Motor

                    Co. et aI, Wayne County Circuit Court Case No. 12-

                    001917-CP, filed September LI, 2012 and settled

                    April 29,2013;

               0    Frank Sorrentino - Franh Sorcentino u General
                    Motors et al,St. Clair County Circuit Court Case No.

                    12-001917-CP, filed August 6, 20L2 and settled

                    March 27,2013; and,




                                          9


23-45970-mlo    Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 145 of 205
               g)       Milton Spokojny - Milton Spohojny u Ford Motor Co.

                        et aI, Wayne County Circuit Court Case # 12-
                        007343-CP, filed May 31, 2012 and settled March 5,

                        2013.

         36. Respondent deposited settlement funds from Willianl. u. Ford Motor
   Co. directly into his Dailey Law Firm, PC, Business Account#5525 on January 22,

   2013, in the amount of $6,000.00.

         37. On January 24,2013, Respondent wire transferred $6,000.00 from his
   Business Account #5525 to his IOLTA Account #5575 to correct the earlier deposit.

         38. On or about March I, 2013, Mr. Lehto began attempting to contact
   Respondent by telephone for payment on the seven aforementioned cases and when

   unable to reach Respondent by telephone, Mr. Lehto also sent Respondent text

   messages and email messages seeking payment.

         39. In March of 2013, Respondent told Mr. Lehto that payment to him was
   forthcoming but that Respondent was having trouble with funds and needed

   additional time to pay Mr. Lehto the money Respondent owed him.

         40. Respondent has failed to pay Mr. Lehto the money Respondent owes
   Mr. Lehto to date.

                                (Grounds for Discipline)

         41. By reason of the conduct described above in Count Three of this Formal
   Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:


                                            10


23-45970-mlo   Doc 70      Filed 08/03/23   Entered 08/03/23 09:24:00   Page 146 of 205
               a)   failed to promptly pay or deliver any funds that a

                    third person is entitled to receive, and failed to
                    promptly render a full accounting regarding the

                    funds, in violation of MRPC 1.15(b)(3);

               b)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.a@);

               c)   conduct that is prejudicial to the proper
                    administration ofjustice, in violation of MRPC 8.a(c)

                    and 9.104(1);

               d)   engaged in conduct that exposed the legal profession

                    or the courts to obloquy, contempt, censure or
                    reproach, in violation of MCR 9.104(2); and,

               e)   engaged in conduct that is contrary to justice, ethics,

                    honesty, or good morals, in violation of MCR

                    e.104(3).



                         COUNT FOUR - SUZANNE M. WICKETT
                                    (Factual Allegations)

         42. On or about July 19, 20L7, Suzanne M. Wickett (Ms. Wickett) was
   hired by Respondent to work as a bookkeeper in Respondent's law firm.
                                           11



23-45970-mlo    Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00       Page 147 of 205
         43. Respondent was to pay Ms. Wickett by check for her services rendered
   to Respondent and Dailey Law Firm, PC.

         44. On or about August 22, 20L7, Ms. Wickett deposited check #6115 in
   the amount of $1,1480.00 from Respondent's Business Account #5525 for wages.

         45.    Respondent's check was retuned for nonsufficient funds.

         46. Respondent did not pay Ms. Wickett her wages for the weeks of
   September I,2017 and September 8,2017.

         47.    On September 15, 2017, Respondent promised Ms. Wickett that he

   would pay her back wages.

         48. Ms. Wickett's final day in Respondent's employment was September
   15,2017.

         49. On September 18, 2017, Ms. Wickett was instructed not to come to
   work at Dailey Law Firm, PC, and Ms. Wickett requested that Respondent pay her

   back wages as promised to her by Respondent on September 15, 2017.

         50. Thereafter, Ms. Wickett's requests for payment for her wages from
   Respondent were ignored by Respondent.

         51.   On or about November 2I, 2017, Ms. Wickett filed claim number

   195406 with the Michigan Department of Licensing and Regulatory Affairs (I"ARA)

   associated with Respondent's failure to pay her wages.

         52. A Regulation Agent with LARA mailed Respondent a letter on
   December 18, 2017, advising that the investigation disclosed $2,210.00 was due to




                                          T2


23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 148 of 205
   Ms. Wickett and that Respondent was to pay this amount no later than December

   2I,20L7.

          53. Respondent did not pay the amount owed to Ms. Wickett by December
   21,2017.

          54. On January 31, 2018, I,ARA issued a Determination Order finding
   Respondent violated MCL 408.472(I), 408.475(2), 408.479(1)-(3) of the Payment of

   Wages and Fringe Benefi.ts Act.

          55. The Determination Ord.er required. Respondent to pay Ms. Wickett
   $2,210 in gross wages, I0% a year interest of $.60 per day beginning November 12,

   2017, until the determined amount was paid. Respondent was further assessed a

   civil penalty of $1,000 for his violation of the Act.

          56. Respondent appealed the LARA Determination Order.
          57. A hearing was held on May 4, 2018, before Administrative Law Judge
   David Cohen.

          58. Ms. Wickett, I"ARA representatives, and Respondent were present for
   the hearing.

          59. On June 4,2018, Judge Cohen issued a decision affirming the LARA
   Determination Order and required Respondent to pay Ms. Wickett and submit

   payment to the State of Michigan.

         60.      On September 18, 2OL8,I"ARA notified Ms. Wickett that payment had

   not been made in accordance with the Determination Order and that the matter




                                             13


23-45970-mlo      Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00   Page 149 of 205
   was referred to the Michigan Attorney General's Office (Attorney General) to collect

   the amount due to Ms. Wickett.

         61. The office of Attorney General engaged in collection efforts from
   Respondent to ensure that he paid the amount due to Ms. Wickett.

          62. On or about September 3, 2019, approximately one year after the
   amount due was sent to collections with the Attorney General and two years after

   Ms. Wickett's employment ended with Respondent, payment was finally received

   by Ms. Wickett from the State of Michigan in the amount of $2,462.00.


                                 (Grounds for Discipline)

         63.    By reason of the conduct set forth in Count Four of this Formal
   Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:

               a)   knowingly disobeyed an obligation under the rules

                    of a tribunal, in violation of MRPC 3.4(c);

               b)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fi.tness

                    as a lawyer, in violation of MRPC 8.a@);

               c)   engaged in conduct prejudicial to the administration

                    of justice, in violation of MRPC 8.a(c) and MCR

                    e.1oa(1);

                                            t4

23-45970-mlo   Doc 70    Filed 08/03/23     Entered 08/03/23 09:24:00   Page 150 of 205
               d)       engaged in conduct that exposed the legal profession

                        or the courts to obloquy, contempt, censure or
                        reproach, in violation of MCR 9.104(2); and,

               e)       engaged in conduct that is contrary to justice, ethics,

                        honesty or good morals, in violation of MCR 9.104(3).




                                 COUNT FIVE _ DALEN HANNA

                                       (Factual Allegations)

         64. In or about 2017, Respondent employed Rodney Lloyd (I\{r. Lloyd) as
   an assistant and made payments to Mr. Lloyd via business check.

          65. Mr. Lloyd would tender the checks from Respondent to Greenfield
   Super Market (GSM) in use of check cashing services offered by GSM.

          66. From November 17 to November 22, 2017, three checks that
   Respondent issued to Mr. Lloyd, totaling the sum of $2,600.00, were returned for

   Not Sufficient Funds that were cashed at GSM, each resulting in a $25 fee, for a

   total of $2,675.00

         67. GSM contacted Respondent and was promised by Respondent that the
   checks would be replaced after November 17, 2017.

         68. On or about December 8,2017, Respondent issued Check No. 11341
   from his Dailey Law Firm, PC Business Account #5525, payable to GSM in the

   amount of $2,675.00.




                                               15


23-45970-mlo    Doc 70      Filed 08/03/23    Entered 08/03/23 09:24:00       Page 151 of 205
          69. On or about December 12,2017, Check No. 11341 was returned for Not
   Sufficient Funds.

          70. Respondent's conduct for issuing a non-sufficient fund check in the
   amount of $2,675.00 is a violation of MCL 750.131.

          71. GSM made further attempts to be paidby Respondent after Check No.
   11341 was deemed Not Sufficient Funds by the bank, but Respondent did not

   respond to these further attempts of GSM for payment, from December of 2OI7 to

   August of 2018.

          72.    GSM then retained Dalen Patrick Hanna, P81533 (Attorney Hanna)

   to collect the funds that were owed by Respondent.

          73. Attorney Hanna made several attempts to collect the funds
   Respondent owed GSM without litigation, from August to December of 2018.

          74.    On August 6, 2018, Attorney Hanna sent Respondent a Notice of

   Dishonored Check & Demand for Immediate Payment.

          75. Respondent did not pay the amount owed to GSM.
          76.    On August 27, 2018, Attorney Hanna advised Respondent that he

   would be filing a lawsuit if Respondent did not pay the money he owed to GSM.

          77. Respondent did not respond to Attorney Hanna's attempt to settle the
   matter prior to filing a lawsuit.

          78. On December 14, 2018, Respondent filed a complaint for declaratory
   judgment in the matter captioned Dailey Law Firm PC u Greenfield Super Market,

   Inc.,3$th District Court, Case No. 18-17903l-GC.


                                           16


23-45970-mlo    Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 152 of 205
          79. On December 14, 2018, Attorney Hanna, on behalf of GSM, filed a
   Complaint against Respondent, in Greenfield, Supermarket, Inc., u Brian Thomas

   Dailey and Dailey Law Firm, PC,48th District Court, Case No. I8-34476-GCZbefore

   the Hon. Diane D'Agostini.

         80. Respondent filed a motion to dismiss the civil case in the 48th District
   Court, which was denied on February 28,2019, before Judge D'Agostini.

         81.    On April 4, 2019, Judge D'Agostini granted Plaintiffs Motion for

   Sanctions Against Respondent and Defendant Dailey Law Firm, PC.

          82. Judge D'Agostini ordered sanctions be paid by Respondent pursuant
   to MCR 2.IL4(D), (E), and MCL 600.2591 in the amount of $1,500 within seven days

   ofthe entry ofthe order.

         83. In making her ruling, Judge D'Agostini stated that she found
   Respondent's defense "to absolutely be frivolous."

         84. On April 24, 2019, Dailey u. Greenfield Superrnarket was dismissed
   with prejudice with no costs or fees to either party in the 36th District Court after

   Attorney Hanna filed a Motion for Summary Disposition on behalf of GSM.

         85.    On May 2, 2019, a judgment was entered against Respondent and

   Dailey Law Firm PC, in the 48th District Court for $2,805, not including statutory

   interest, which was then served on the parties or their attorneys by first-class mail

   addressed to their last known addresses as defined by MCR 2.107(C)(3).

         86. To date, Respondent has not paid the sanction amount and the
   judgment amount entered to date in the 48th District Court case.


                                           T7


23-45970-mlo   Doc 70    Filed 08/03/23    Entered 08/03/23 09:24:00     Page 153 of 205
                                 (Grounds for Discipline)

          87. By reason of the conduct described above in Count Five of this Formal
    Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:

               a)   failed to promptly pay or deliver any funds that a

                    third person is entitled to receive, in violation of
                    MRPC 1.1500)(3);

               b)   asserted a frivolous to a proceeding, in violation of

                    MRPC 3.1;

               c)   knowingly disobeyed an obligation under the rules

                    of a tribunal, in violation of MRPC 3.a(c);

               d)   violated or attempted to violate the Rules of

                    Professional Conduct, in violation of MRPC 8.4(a);

               e)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.4ft);

               0    engaged in conduct that is prejudicial to the proper

                    administration ofjustice, in violation of MRPC 8.4(c)

                    and MCR 9.10a(1);




                                            18


23-45970-mlo   Doc 70   Filed 08/03/23      Entered 08/03/23 09:24:00    Page 154 of 205
               s)       engaged in conduct that exposes the legal profession

                        to obloquy, contempt, censure, or reproach, in
                        violation of MCR 9.L0a(D;

               h)       engaged in conduct that is contrary to justice, ethics,

                        honesty, or good morals, in violation of MCR

                        9.104(3); and,

               r)       engaged in conduct that violated a criminal law of a

                        state or of the United States in violation of MCR

                        e.104(5).


                                    COUNT SD( _ARON ORTH
                                         (Factual Allesations)

         88.        On or about August 10, 2011, Maria Orth (Mrs. Orth) was involved in

   an automobile accident and suffered injuries as a result of this incident.

         89. In 2013, Mrs. Orth retained Respondent for representation.
         90. On April 7,2014, Respondent filed a complaint in the matter captioned
   Maria Orth u Bristol West Preferred Insurance Company, Wayne County Circuit

   Court Case No. 14-004466-NI.

         91. The case settled and a check in the amount of $175,000.00 was issued
   on March 27, z}Il,jointly payable to Dailey Law Firm, PC and Maria Orth.

         92. A deposit slip shows the settlement check was deposited into
   Respondent's IOLTA Account #5575 on April 7, 2015.

         93. Mrs. Orth passed away on December 22,2015.

                                               19


23-45970-mlo    Doc 70      Filed 08/03/23     Entered 08/03/23 09:24:00     Page 155 of 205
            94. At the time of Mrs. Orth's death, Respondent had not disbursed all of
   the settlement funds.

            95. Mrs. Orth's family contacted Respondent for disbursement of the
   settlement funds to pay for her funeral expenses.

            96. Bank records from Respondent's IOLTAAccount #5575 reflect that the
   following wire transfers were made to Mrs. Orth and/or Michael Orth (her spouse):

        .    O710712015: $3,000

        o O812112015: $3,000
       .     L01I612015: $3,000

       .     1210412015 $3,000

       o 0110612016: $5,000
       .     0912L12016: $5,000

       .     Olll0l2017: $3,025

            97. There was a Medicaid lien on the settlement funds in the amount of
   $13,889.98.

            98. Additionally, the amount of $8,495.00 was owed to Plaintiff
   Investment Funding.

            99. Expenses in the case totaled $1,531.19.
            100. Payment from Respondent's IOLTAAccount #5575 show that Plaintiff
   Investment Funding was paid in full on April of 2015.




                                            20


23-45970-mlo     Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 156 of 205
          101. Attorney fees and expenses in the total amount of $29,622.68 were
   paid to attorney Scott Decius, an associate of Respondent's firm. The total attorney

   fee from the settlement was $57,827.94.

          102. Because Respondent did not disburse Mrs. Orth's settlement funds
   timely prior to her death, the settlement funds became a part of her probate estate.

          103. On or about January 4,2016, Mr. Orth retained Respondent to file a
   probate court case for the estate of Mrs. Orth.

         104. Respondent's minimum fee was listed for $7,500, but his proposed
   retainer agreement is unsigned, and Respondent did not open a probate estate for

   Mrs. Orth.

         105. Respondent's fee agreement violated MCR 5.313 because the retainer
   agreement is unsigned.

         106. On January 5, 2016, Respondent wire transferred $7,500 from his
   IOLTA Account #5575 to his Business Account #5525, before an estate was opened.

         107. On January 6, 2016, Respondent disbursed additional settlement
   funds to Mr. Orth in the sum of $5,000. On September 2I, 2016 Respondent

   disbursed additional settlement funds to Mr. Orth in the sum of $5,000 and on

   January lO, 20L7, Respondent disbursed additional settlement funds to Mr. Orth

   in the sum of $3,025.00

         108. In or about February of 2017, the family of Maria Orth retained
   Anthony McClerklin,P74296, (Attorney McClerklin) to open and probate the Estate

   of Maria Orth.



                                           2I

23-45970-mlo    Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00    Page 157 of 205
          109. On February 14, 2017, Attorney McClerklin commenced a probate
   action titled Estate of Maria Orth, Eaton County Probate Court, Case No. 17-52997-

   DE.

          110. OnAugust 4, 2017,Mr. Orth passed away.
          l1l.   On January 26,2018, Maria Orth's son, Aron Orth, was appointed as

   the personal representative of her estate.

          tt2       Septembet 17,2017, Respondent's associate, Kyle Dupuy, filed a

   statement and proof of claim asserting an attorney fee in the amount of $ 10,795.00

   for professional services rendered in the probate matter and for a Medicaid lien in

   the amount of $13,889.98. Respondent's fee was clearly excessive.

          113. The statement filed by Respondent's firm includes an account
   statement that falsely stated that $7,500 of Respondent's fee was retained in his

   IOLTA Account #5575.

          ll4.   Respondent's IOLTA Account #5575 records show a wire transfer of

   the amount of $7,500.00 from Respondent's IOLTA to Respondent's Business
   Account #5525 on January 5,2016.

         115. On April 27,20L8, a Notice of Disallowance of Claim regarding
   Respondent's firm's request for the attorney fee was filed.

         116. On June 26,2018, Respondent fiIed a civil complaint against the
   Estate of Maria Orth, in Dailey Law Firm PC u Michael Orth Indiuidually as

   Personal Representatiue of the Estate of Maria Elidia Orth and Aaron Orth as




                                           22


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 158 of 205
   Personal Representatiue of the Estate of Maire Elidia Orth, Wayne County Circuit

   Court, Case No. 18-007194-CK.

             ll7. In Respondent's first amended complaint filed on October 2, 2018,
   Respondent alleged breach of contract, unjust enrichment, and detrimental

   reliance, and sought declaratory and equitable relief.

             118. Respondent's amended civil complaint specifically alleged that
   Respondent was owed costs and fees in the amount of $10,795.

             119. Respondent further alleged in his civil complaint that he was
   attempting to disburse funds to the proper payees, including Medicaid and

   Medicare, but that the civil defendants had not given authority to disburse the

   funds.

             120. Respondent alleged that the liens to Medicaid and Medicare "are
   believed to be in an amount in excess of $25,000."

             l2l.   On or about July 17, 2019, the parties to the civil complaintbrought

   by Respondent negotiated a settlement and placed the settlement on the court's

   record.

             122. Under the terms of the settlement agreement Respondent was to pay
   the Medicare lien, Ieaving a settlement fund balance of $57,755.89.

             123. Respondent was to retain $17,000 as full and final settlement of
   Respondent's claim.

             124. A payment of $40,755.89 was owed to the estate within 24 hours of
   signature by the civil defendant.


                                              23


23-45970-mlo        Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 159 of 205
         125. On August 7, 2019, Respondent requested that Aron Orth sign the
   settlement agreement and release.

         126. On August L2,2019, a settlement agreement and release of claims was
   executed by Aron Orth, individually and as personal representative of the estate.

         127. Thereafter, Respondent did not pay the estate or the Medicare lien.
         128. On or about August 30, 2019, a motion to enforce settlement and
   compel payment of coasts and attorney fees was filed by the civil defendants and

   served on Respondent.

         129. On September 6, 20L9, Respondent issued checks payable to the estate
   and the Michigan Department of Community Health.


                                  (Grounds for Discipline)

         130. By reason of the conduct set forth in Court Six of this Formal
   Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104:

               a)   Neglected a legal matter, in violation of MRPC

                     1.1(c);

               b)   failed to act with reasonable diligence and
                    promptness in representing a client, in violation of

                    MRPC 1.3;

               c)   failed to promptly pay or deliver any funds that a

                    third person is entitled to receive, in violation of
                    MRPC 1.15@)(3);

                                            24


23-45970-mlo    Doc 70     Filed 08/03/23   Entered 08/03/23 09:24:00   Page 160 of 205
               d)    knowingly disobeyed an obligation under the rules

                     of a tribunal, in violation of MRPC 3.4(c);

               e)    Charging or collecting, or attempting to charge or

                     collect, clearly illegal or excessive fees in violation of

                    MRPC 1.5(a) and MCR 5.313 (B).

               D     engaged in conduct involving dishonesty, fraud,

                     deceit or misrepresentation or violation of the

                     criminal law, where such conduct reflects adversely

                     on the lawyer's honesty, trustworthiness, or fitness

                     as a lawyer, in violation of MRPC 8.a@);

               s)   engaged in conduct that is prejudicial to the proper

                     administration of justice, in violation of MRPC

                     e.10a(1);

               h)   engaged in conduct that exposed the legal profession

                    of the courts to obloquy, contempt, censure or
                    reproach, in violation of MCR 9.104(2); and,

               r)   engaged in conduct that is contrary to justice, ethics,

                    honesty or good morals, in violation of MCR 9.104(3).

                          COUNT SEVEN - ARTHUR OROFINO

                                    (Factual Allegations)

         131. On or about November 29, 2016, Arthur Orofino (l\tlr. Orofino) was
   involved in an automobile accident.


                                            25


23-45970-mlo    Doc 70   Filed 08/03/23     Entered 08/03/23 09:24:00        Page 161 of 205
          132. On or about May 3, 20L7, Mr. Orofino retained Respondent by
   contingent fee agreement for all claims arising from the automobile accident

   including first- and third-party claims.

          133. On July ll, 2017, Respondent filed the matter captioned Arthur
   Andrew Orofino u Trauelers Indemnity Company, Wayne County Circuit Court Case

   No. 17- 10 1508-NF (Trauelers).

          134. On March 29, 2018, Respondent filed a case against the driver of the
   other automobile in a matter captioned Arthur Orofino u Bassam Naourn, Oakland

   County Circuit Court Case No. 20I8-164734-NI Q{aourn).

          135. Trauelers settled in June of 2018, for $80,000.
          136. The $80,000 settlement check for Travelers was deposited into
   Respondent's IOLTA Account #5575 on July 12,2018.

          137. On June 11, 2019, approximately one year after receiving the
   settlement funds, Respondent drafted a distribution statement for Mr. Orofino to

   execute.

         138. The no fault claims totaled just over $160,000. Respondent calculated
   his one-third fee on the amount of the no fault claims ($160,000), rather than on the

   settlement amount obtained ($80,000).

         139. Also, on or about June 11, 2019, Respondent issued a check in the
   amount of $27,799.20 payable from his IOLTA Account #5575 to Mr. Orofino, from

   the Trauelers settlement funds.




                                              26


23-45970-mlo   Doc 70    Filed 08/03/23       Entered 08/03/23 09:24:00   Page 162 of 205
          140. On June 12, 2019, Respondent deposited a settlement check for
   $110,000 representing the settlement funds fot Naoum.

          l4l. The $110,000 settlement check for Naoum was deposited in
   Respondent's IOLTA Account #5575 on June 12,2019.

          142. On July 3, 2019, Respondent's distribution statement for the $ I 10,000
   settlement in Naoum showed the net due to Mr. Orofino was $71,962.81 after

   deduction of costs and Respondent's one-third fee.

          143. On July 3, 2019, Respondent issued check number 16154 from his
   Business Account #5525 to Mr. Orofino in the amount of $71,962.81.

          144. Respondent's check number L6L54 to Mr. Orofino was returned for
   nonsufficient funds on July 5,2019.

          145. Respondent issued Mr. Orofino a second check number 15360 from his
   IOLTA Account #5575.

          146. Respondent dated this second check to Mr. Orofino as July 3, 2019.
          147. The check dated July 3, 2019 was then negotiated on July 9, 2019.
         148. Respondent issued the following additional checks from his IOLTA
   Account #5575 on behalf of Mr. Orofino: (1) check payable to Executive Case

   Management LLC for $3,829.37 on August 15, 2019; and (2) check payable to

   Equian LLC for $2,670.64 on October 9, 2019.

         149. Respondent did not promptly pay all the providers with outstanding
   balances on behalf of Mr. Orofino.




                                          27


23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00     Page 163 of 205
         150. As a result of Respondent not promptly paying all the providers on
   behalf of Mr. Orofino, creditors continue to pursue payment.

         151. Respondent answered that he paid half of the outstanding bills for Mr.
   Orofino and has not provided an update on the remainder due.


                              (Grounds for Discipline)

         152. By reason of the conduct set forth in Count Seven of this Formal
   Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:

               a)   failed to act with reasonable diligence and
                    promptness in representing a client, in violation of

                    MRPC 1.3;

               b)   Respondent charged or attempted to charge a clearly

                    excessive fee in violation of MRPC 1.5(a);

               c)   failed to promptly pay or deliver funds that a third

                    person is entitled to receive, in violation of MRPC

                    1.15O)(3);

               d)   engaged in conduct involving dishonesty, foaud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.4@);




                                            28


23-45970-mlo   Doc 70   Filed 08/03/23      Entered 08/03/23 09:24:00   Page 164 of 205
               e)     engaged in conduct that is prejudicial to the proper

                      administration of justice, in violation of MRPC

                      e.10a(1);

               0      engaged in conduct that exposed the legal profession

                      or the courts to obloquy, contempt, censure or
                      reproach, in violation of MCR 9.104(2); and,

               s)     engaged in conduct that is contrary to justice, ethics,

                      honesty or good morals, in violation of MCR 9.104(3).




                           COUNT EIGHT - STEPHANIE DALLAS

                                     (Factual Allegations)

          153. On or about February 2I, 2019, Stephanie Dallas (VIs. Dallas) was
   involved in an automobile accident.

          154. On March 5,2019, Ms. Dallas met with Robert Smith, an associate of
   Respondent's firm.

          155. Ms. Dallas informed Respondent's associate that she had completed an
   application for no fault benefits with her insurer AAr\ Auto insurance (AAA) but

   had not been notified if AAA would voluntarily pay her benefits.

          156. Ms. Dallas was encouraged to retain Respondent's firm to handle the
   first-party benefits.




                                            29


23-45970-mlo    Doc 70     Filed 08/03/23   Entered 08/03/23 09:24:00       Page 165 of 205
              157. On March 5,2019, Ms. Dallas executed a contingent fee agreement
   with Respondent that would allow for Respondent to recover one-third of the
   proceeds after costs.

              158. After Ms. Dallas signed the contingent fee agreement with
   Respondent, AAA decided to voluntarily pay her first-party benefits.

              159. Respondent received the first-party benefit checks for Ms. Dallas and
   deducted one-third of the money for his fee.

              160. Respondent did not pay providers for Ms. Dallas.
              161. As a result of Respondent's not paying these providers, Ms. Dallas had
   to pay the providers in order to continue to receive treatment.

              162. As a result of Respondent's failure to pay providers for Ms. Dallas, her
   credit score was negatively impacted, and collection agencies began collection

   efforts.

              163. In or about the summer of 2019, Respondent received and held lost
   wage benefit checks for Ms. Dallas for multiple months.

          164. On or about September 16, 2019, Ms. Dallas terminated
   representation with Respondent, and requested her complete file and an accounting

   of AAA's payments to Respondent.

          165. Respondent did not provide Ms. Dallas with her file or an accounting
   as requested.




                                              30


23-45970-mlo       Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00     Page 166 of 205
           166. On or about September 25, 2019, Ms. Dallas retained new counsel,
   Craig Nemier, P26476, who sent a letter to Respondent requesting the fiIe for Ms.

   Dallas and the AAA Accounting.

           167. Respondent did not respond to Attorney Nemier's correspondence.
           168. On or about October 3,2019, Attorney Nemier sent Respondent a copy
   of his previous letter requesting the file and the AAA Accounting regarding Ms.

   Dallas by email to Respondent.

           169. Respondent did not answer.
           170. On October 17,2019, Attorney Nemier left a voicemail message and
   sent another email to Respondent regarding Ms. Dallas.

           l7l.   Respondent still did not respond to Attorney Nemier.

           172. On February 5, 2020, Attorney Nemier filed a civil case against
   Respondent and his law firm in the matter captioned Stephanie Dallas u ACIA et

   aI, Oakland County, Case No. 200-I70465-NF.

           173. Respondent filed an answer and a counter-complaint on March 12,
   2020.

           174. On June 18,2020, Attorney Nemier filed a motion for partial summary
   disposition.

           175. On August 5,2020, Hon. Martha Anderson granted partial summary
   disposition in a written opinion and order.

           176. On August 17,2020, the Court entered an order requiring Respondent
   within 10 days of the entry of the order to:


                                            31


23-45970-mlo      Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00    Page 167 of 205
                 a)    Pay Ms. Dallas whatever money she was owed for

                      past lost wages less any attorney fee claimed

                       through the present;

                 b)    Pay every provider all monies owed to them without

                       deducting any attorney fee; and,

                 c)   Provide Ms. Dallas and her attorney a complete

                       accounting or all checks received and all payments

                      made.

          177. Respondent did not comply with the Court's order.
          178. As a result of Respondent failing to comply with the order of Judge
   Anderson, a provider for Ms. Dallas, Affiliated Diagnostics (Count Nine herein),

    fi.led an ex-parte motion for order to show cause on September 10, 2020.

          179. An order for Respondent to show cause was issued on September 15,
    2020, providing a date for hearing of September 30,2020.

          180. Attorney Nemier filed a motion to be included in the show cause order
   of September 18, 2020.

          l8l.    Respondent issued a check to Ms. Dallas on September 29, 2020, in the

   amount of $172.73.

          182. Respondent did not provide an accounting as ordered.
          183. On October 23, 2020, Attorney Nemier filed a show cause motion
   regarding the failure to provide an accounting.




                                              32


23-45970-mlo     Doc 70   Filed 08/03/23      Entered 08/03/23 09:24:00   Page 168 of 205
            184. A hearing was conducted on November 25, 2020, at the Court found
   that Respondent had not yet complied with the August 17,2020 order.

            185. The Court warned Respondent to file his accounting by December 2,
    2020.

            186. Respondent filed his accounting with the court on December 1,2020.



                                  (Grounds for Discipline)

            187. By reason of the conduct set forth in Count Eight of this Formal
   Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:

                a)    failed to act with reasonable diligence and
                      promptness in representing a client, in violation of

                      MRPC 1.3;

                b)    failed to promptly comply with a client's reasonable

                      request for information, in violation of MRPC 1.4(a);

                c)    failed to explain a matter to client to the extent

                      reasonably necessary to permit the client to make

                      informed decisions about the representation, in

                      violation of MRCP l.aft);

                d)    failed to promptly pay or deliver funds that a third

                     person is entitled to receive and failed to promptly




                                            33


23-45970-mlo    Doc 70    Filed 08/03/23    Entered 08/03/23 09:24:00    Page 169 of 205
                    render a full accounting of such funds, in violation of

                    MRCP 1.15(b)(3);

               e)   knowingly disobeyed an obligation under the rules

                    of a tribunal, in violation of MRPC 3.4(c);

               I    engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fi.tness

                    as a lawyer, in violation of MRPC 8.4(b);

               g)   engaged in conduct that is prejudicial to the proper

                    administration ofjustice, in violation of MRPC 8.a(c)

                    and MCR 9.10a(1);

               h)   engaged in conduct that exposed the legal profession

                    or the courts to obloquy, contempt, censure or
                    reproach, in violation of MCR 9.104(2); and,

               l)   engaged in conduct that is contrary to justice, ethics,

                    honesty or good morals, in violation of MCR 9.104(3).




                    COUNT NINE - AFFILIATED DIAGNOSTICS

                                   (Factual Allegations)

         188. Petitioner realleges, as if cited verbatim, the Factual Allegations from
   Count Eight of this Formal Complaint.


                                           34


23-45970-mlo    Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00     Page 170 of 205
           189. On or around April of 2019, AffiIiated Diagnostics performed MRI
    services for Ms. Dallas related to her February 12,2Ol9 automobile accident.

           190. AAA allowed payments for two bills submitted by Affrliated
    Diagnostics in the amounts of $30,925 and $2,317.

           191. AAA issued a check for $ $30,925 on April 26, 2019, which was
    deposited into Respondent's IOLTA Account #5575 on May 1, 2019.

           192. AAA issued a check for $2,317 on May 14, 20L9, which was deposited
    into Respondent's IOLTA Account #5575 on May 2I,2019.

           193. Respondent did not promptly disburse the funds from AAA to
   Affiliated Diagnostics.

           194. Respondent claimed a one-third fee on these funds.
           195. On September 16, 2019, Ms. Dallas terminated Respondent.
           196. The civil suit filed by Attorney Nemier resulted in an order to pay
   every provider all monies owed to them without holding out any money for attorney

   fees within ten days of entry of the order.

           197. On August 20, 2020, attorney John Betz, P24468, filed a demand for
   payment on behalf of Affiliated Diagnostics in Dallas u ACIA.

           198. Due to Respondent's failure to comply with the August 17,2020 order
   of Judge Anderson in the civil action, Affiliated Diagnostics filed an ex-parte show

   cause motion against Respondent.

           199. The motion for an order to show cause was granted on September 15,
   2020.



                                            35


23-45970-mlo    Doc 70   Filed 08/03/23    Entered 08/03/23 09:24:00    Page 171 of 205
         200. The Court scheduled an evidentiary hearing for September 30, 2020.
         20I. On September 29, 2020, Affiliated Diagnostics filed an
   acknowledgement of receipt of a check from Respondent in the total amount of

   $23,242.

                                (Grounds for Discipline)

         202. By reason of the conduct set forth in Count Nine of this Formal
   Complaint, Respondent has committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:

               a)   failed to promptly pay or deliver funds that a third

                    person is entitled to receive, and failing to promptly

                    render a full accounting regarding such funds, in

                    violation of MRPC 1.1500X8);

               b)   knowingly disobeyed an obligation under the rules

                    of a tribunal, in violation of MRPC 3.a(c);

               c)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.a@);

               d)   engaged in conduct prejudicial to the administration

                    of justice in violation of MRPC 8.a(c) and MCR

                    e.loa(1);


                                            36


23-45970-mlo   Doc 70   Filed 08/03/23      Entered 08/03/23 09:24:00   Page 172 of 205
               e)     engaged in conduct that exposed the legal profession

                      or the courts to obloquy, contempt, censure or
                      reproach, in violation of MCR 9.104(2); and,

               0      engaged in conduct that is contrary to justice, ethics,

                      honesty or good morals, in violation of MCR 9.104(3).




                              COUNT TEN - JULIUS HARDEN

                                     (Factual Allegations)

          203. On October 27,2017, Julius Harden (l\4r. Harden) was injured in an
    automobile accident.

          204. On or around November 15, 2017, Respondent entered into a
    contingent fee agreement with Mr. Harden.

          205. Mr. Harden submitted a third-party automobile negligence claim
    against the other driver involved in the accident with Mr. Harden.

          206. The other driver had insurance with GEICO in the amount of $20,000
   per person and $40,000 per accident.

          207. Respondent recovered $20,000 from the insurance company for Mr.
   Harden's claim.

          208- On December 5, 2018, the $20,000 check was deposited into
   Respondent's IOLTA Account #5575.

          209. On March I, 2019, nearly 90 days later, Respondent issued check
   number 15284 in the amount of $12,835.96 payable to Mr. Harden.


                                            6t


23-45970-mlo   Doc 70      Filed 08/03/23   Entered 08/03/23 09:24:00      Page 173 of 205
          210. On January 18, 2019, Respondent filed in Wayne County Circuit Court
    the case of Julius Harden u Meemic Insurance Company, Case No. 19-000859-NI,

    seeking underinsured motorist benefits.

          211. On March l,2OI9, Respondent filed an amended complaint.
          212. Between October 2017 and October of 2019, Mr. Harden's wife
   performed household services for Mr. Harden.

          213. Mr. Harden submitted monthly household services statements directly
   to Meemic and would receive payment for these services directly from Meemic.

          214. However, the checks issued by Meemic for September and October of
   2019 for services were mistakenly sent to Respondent.

          215. Respondent accepted the two checks from Meemic for household
   services, in the amounts of $380 and $320 respectively, and deposited same into

   Respondent's IOLTA Account #5575 on October 2I,2019, and November 8, 2019.

          216. Respondent did not notify Mr. Harden that Respondent received the
   two household service checks, nor did Respondent obtain permission from Mr.

   Harden to deposit the funds from those two household service checks.

          217. Mr. Harden, having not received the two household service checks,
   contacted Meemic and was informed the checks had been sent to Respondent.

          218. Respondent asserted to Mr. Harden that the contingent fee agreement
   was never amended to provide for a contingent fee regarding the no fault PIP benefit

   claims, therefore an hourly fee was due.




                                           38


23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00     Page 174 of 205
          219. Respondent told Mr. Harden if he distributed the funds received, Mr.
   Harden would not recover because the law firm had more hours worked collecting

   the PIP benefits than the $700 would cover.

         220. Respondent refused to pay Mr. Harden the proceeds from the two
   household services checks.

         221. The underinsured motorist claim against Meemic proceeded to
   arbitration, on November 19, 2019.

         222. The arbitrators awarded underinsurance benefits in the amount of
   $22,500 in an arbitration award entered on November 20, 2019.

         223- On November 26, 2019, Meemic issued a check in the amount of

   $22,500 to Respondent. This check was deposited into Respondent's IOLTAAccount

   #5575 on December 6, 2019.

         224. Meemic moved for summary disposition regarding any medical
   provider bills. Mr. Harden had a coordinated policy and, as such, the providers were

   to bill the medical insurer Blue Care Network.

         225. On September 8, 2020, the motion for summary disposition was
   granted in Meemic's favor.

         226. After more than 90 days without receipt of payment from Respondent,
   Mr. Harden retained attorney Jordan Altus, P82384, on March 17, 2021, to recover

   the proceeds from Respondent.




                                          39


23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00     Page 175 of 205
         227. On March 26, 2OZI, Attorney Altus sent a demand letter to
   Respondent for payment of the money owed to Mr. Harden from the arbitration, and

   to Mrs. Harden for attendant care.

         228. Respondent failed to reply to the demand letter.
         229. Attorney Altus made continued attempts to contact Respondent and
   was unsuccessful.

         230. In or about April of 202I, Respondent demanded that Mr. Harden sign
   a new contingent fee agreement.

         231. Respondent prepared a new contingent fee agreement and settlement
   accounting dated April 14,202L and sent it to Attorney Altus.

         232. Under the accounting prepared by Respondent, the total proceeds were
   $23,200. Expenses totaled 82,175.19 and attorney fees totaled $7,008.27.

         233. As the parties negotiated a one-third contingent fee for all three
   checks involved, net proceeds owing to Mr. Harden totaled $14,016.72.

         234. Attorney Altus returned the signed documents to Respondent.
         235. Respondent then returned the accounting to Attorney Altus and asked
   that it be notarized resulting in further delay in disbursement to Mr. Harden.
   Attorney Altus complied with this additional request and returned the documents

   to Respondent on May 21,2021.

         236. Respondent refused to promptly disburse the funds to Mr. Harden
   upon receipt of the notarized accounting provided by Attorney Altus to Respondent.




                                          40


23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00    Page 176 of 205
         237. On June 14,2021, Attorney Altus fiIed a complaint in the Oakland
   County Circuit Court in Julius Harden u Brian Dailey Law Firm, Case 210188483-

   CZ.

         238. Only after this litigation was initiated did Respondent issue a check
   dated June 18, 202I, in the amount of $ 14,016 .72 for payment to Mr. Harden.

         239. Respondent's failure to promptly turn over the proceeds to Mr. Harden
   caused Mr. Harden to expend money to recover the funds Mr. Harden was owed

   from Respondent.

         240. Mr. Harden had a 50% contingency fee agreement with Attorney Altus
   to recover his funds from Respondent, resulting in Mr. Harden collecting less than

   he would have if he did not have to retain additional counsel.


                                (Grounds for Discipline)

         241    By reason of the conduct set forth in Count Ten of this Formal
   Complaint, Respondent committed the following misconduct and is subject to

   discipline under MCR 9.104 as follows:

               a)     failed to act with reasonable diligence and
                      promptness in representing a client, in violation of

                      MRPC 1.3;

               b)     failed to promptly comply with a client's reasonable

                      requests for information, in violation of MRPC

                      1.4(a);




                                            4L


23-45970-mlo   Doc 70     Filed 08/03/23    Entered 08/03/23 09:24:00   Page 177 of 205
               c)   failed to explain a matter to client to the extent

                    reasonably necessary to permit the client to make

                    informed decisions about the representation, MRPC

                    1.aG);

               d)   failed to promptly pay or deliver funds that a third

                    person is entitled to receive, in violation of MRPC

                    1.15(b)(3);

               e)   failed to promptly render a full accounting regarding

                    such funds, in violation of MRPC 1.15&)(3);

               0    engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.aG);

               g)   engaged in conduct that is prejudicial to the proper

                    administration of justice, in violation of MRPC

                    e.10a(1);

               h)   engaged in conduct that exposed the legal profession

                    or the courts to obloquy, contempt, censure or
                    reproach, in violation of MCR 9.104(2); and,

               l)   engaged in conduct that is contrary to justice, ethics,

                    honesty or good morals, in violation of MCR 9.104(3).



                                          42


23-45970-mlo    Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00      Page 178 of 205
                            COUNT ELEVEN - KENT S. SIEGEL

                                     (Factual Allegations)

            242. Respondent represented plaintiff in Sherry Diehl u Citizens Insurance
    Co., in Wayne County Circuit Court Case No. 19-01466-NI filed on November 1,

    2019.

            243. In March of 202I, an order for mediation was entered.
            244. On April 14, 202I, Kent S. Siegel, served as mediator in the pending
   civil case and the parties were required to pay fees associated with mediation.

            245. On June 28, 202I, Respondent paid his portion of the mediation fee
   with check number 39107 in the amount of $500.00 from his Business Account with

   TCF Bank ending in#0427.

            246. On July L, 202I, Account #0427 was garnished $6,174.28 by "MI
   Garn."

            247. On July 7,202I, Respondent's check number dgtOZ was returned for
   insufficient funds.

            248. On or about July 12, 2021, Respondent was notified by Mr. Siegel that
   check number 39107 for $500 was not honored and that payment was due.

            249. On July 12, 202L, Respondent falsely stated to Mr. Siegel that
   Respondent's bounced check was a "bank error" and that the check would be

   replaced.

            250. Respondent did not promptly send the funds he owed to Mr. Siegel.



                                           43


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00     Page 179 of 205
            251. On or about July 26, 202I, after having not received the payment from
   Respondent, Mr. Siegel again contacted Respondent about the payment.

            252. During this conversation, on or about July 26, 202L, Respondent
   expressed surprise to Mr. Siegel that Mr. Siegel had not received the replacement

   check, despite knowing that he had not sent the replacement check to Mr. Siegel

   and at that time Account #0427 had a balance of less than $500.

            253. During the conversation on or about JuIy 26, 202L, Respondent again
   promised Mr. Siegel he would send payment, assuring Mr. Siegel that he was

   overnighting another replacement check.

         254. Respondent did not send the funds owed to Mr. Siegel when promised
   on or about July 26, 202I.

          255. On August 5,202I, having still not received a replacement check from
   Respondent, Mr. Siegel filed a Request for Investigation with the Attorney

   Grievance Commission relaying the bounced check and inaccurate representations

   ofRespondent.

         256. On August 13, 2021, Respondent sent Mr. Siegel the funds he owed
   Mr. Sigel by wire transfer from Respondent's Bank Account with TCF ending in

   #0427.

                                  (Grounds for Discipline)

         257. By reason of the conduct described above in Count E1even of this
   Formal Complaint, Respondent has committed the following misconduct as is

   subject to discipline under MCR 9.f 04 as follows:



                                           44


23-45970-mlo     Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 180 of 205
               a)   failed to promptly pay or deliver funds that a third

                    person is entitled to receive, and failed to promptly

                    render a full accounting regarding such funds, in

                    violation of MRPC 1.15@)(3);

               b)   knowingly disobeyed an obligation under rules of the

                    tribunal, in violation of MRPC 3.4(c);

               c)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.a&);

               d)   engaged in conduct that is prejudicial to the

                    administration of justice, in violation of MRPC

                    8.4(c);

               e)   engaged in conduct that is prejudicial to the proper

                    administration of justice, in violation of MRPC

                    e.10a(1);

               0    engaged in conduct that exposed the legal profession

                    or the courts to obloquy, contempt, censure or
                    reproach, in violation of MCR 9.104(2); and,

               g)   engaged in conduct that is contrary tojustice, ethics,

                    honesty or good morals, in violation of MCR 9.104(3).



                                          45


23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00     Page 181 of 205
         COUNT TWELVE - FAILURE TO TIMELY ANSWER REQUEST'S FOR
                                    INFORMATION

                                   (Factual Allegations)

          258. The following requests for investigation were mailed to Respondent's
    address of record with the State Bar of Michigan in accordance with MCR

    9.112(C)(1)@), requiring his signed written Answer within twenty-one (21) days as

   follows:

        AGC File No.        Dated Mailed to Respondent Complainant

        19-0376                     0211912019              Dalen Hanna

        19-0692                    03/06/2019               Aron Orth

        19-1187                    05llgl20l9               Arthur Orofino

        19-2664                     1210512019              Samira Bazzi

        2I-I780                     I0l27l2O2I              Kent Siegel


          259. On October 27,202I, the request for investigation in AGC File No. 21-
   1780 was mailed and emailed to Respondent at the following address:

   briandailey@daileylawyers.com.

          260. Respondent failed to answer the Request for Investigation listed above
   in the time allowed and final notices enclosing a second copy of the Request for
   Investigation was served via certified mail on Respondent in accordance with MCR

   9. 1 12(C)(1Xb) as follows:


        AGC File No.               Certified Mailine Date Complainant

        19-0376                    0312412019               Dalen Hanna



                                            46


23-45970-mlo    Doc 70     Filed 08/03/23   Entered 08/03/23 09:24:00   Page 182 of 205
         19-0692                  0512212019                 Aron Orth

         19- 1 187                07lr8l20t9                 Arthur Orofino

         19-2851                  0L12412020                 Samira Bazzi

         2I-I780                  Iu30l202t                  Kent Siegel



          261. The final notices also allowed Respondent an additional 10 days to
    answer the Request for Investigation.

          262. Respondent was granted an extension on April 19, 2019, in AGC File
    No. 19-0692 until May 5, 2019. Respondent failed to comply with the extended

    deadline.

          263. On January 3, 2022, in AGC File No. 21-1780, Respondent was sent
   another copy of the Request for Investigation as a courtesy, via email.

          264. Counsel for Petitioner received a certified mail receipt on each of the
   aforementioned Requests for Information, confirming that the final notices were

   accepted at Respondent's address.

          265. Respondent failed to answer each Request for Investigation in the time
   allowed pursuant to MCR 9.112(CXb), having provided untimely responses as

   follows:

        AGC File Number          Date Answer Received Complainant

        19-0376                   O4l01l2jl9                 Dalen Hanna

        19-0692                   06/03/2019                Aron Orth

        19-1187                   0712612019                Arthur Orofino


                                            47


23-45970-mlo    Doc 70   Filed 08/03/23     Entered 08/03/23 09:24:00    Page 183 of 205
        19-2851                   o2lo3l202                 Samira Bazzi

        2r-1780                   031ru2022                Kent Siegel


                              (Grounds for Discipline)

         266. By reason of the conduct described in Count Twelve of this Complaint,
   Respondent has committed the following misconduct and is subject to discipline

   under MCR 9.104:

               a)   failure to answer the Request for Investigation in

                    conformity with MCR 9.113(4) and @)(2), and in

                      riolation of MCR 9.104(D;

               b)   knowingly failed to respond to a lawful demand for

                    information in violation of MRPC 8.1(a)(2);

               c)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.aft);

               d)   engaged in conduct that is prejudicial to the

                    administration ofjustice, inviolation of MRPC S.a(c)

                    and MCR 9.10a(1);

               e)   engaged in conduct that exposes the legal profession

                    or the courts to obloquy, contempt, censure, or
                    reproach, in violation of MCR 9.104(2); and,

                                          48


23-45970-mlo   Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00   Page 184 of 205
               f)    engaged in conduct that is contrary to justice, ethics,

                     honesty or good morals, in violation of MCR 9.104(3).




          Wherefore, Respondent should be subjected to such discipline as may be

  warranted by the facts or circumstances of such misconduct, including any restitution

  owed.



  Dated: October 7,2022                         MICHIGAN ATTORNEY
                                                GRIEVANCE COMMISSION



                                                MICHAEL V. GOETZ, P 4LL39
                                                Grievance Adrninistrator
                                                PNC Center
                                                755 W. Big Beaver Rd., Suite 2100
                                                Troy, MI 48084
                                                (313) 961-6585




                                           49


23-45970-mlo    Doc 70    Filed 08/03/23   Entered 08/03/23 09:24:00      Page 185 of 205
                                                                    FILED
                                                          ATTORNEY DISCIPLINE BOARD
                                                                October 7,2022
                                   State of Michigan

                              Attorney Discipline Board

  Grievance Adrninistrator,
  Michigan Attorney Grievance Comrnission,

         Petitioner,
                                                    Case No. 22-77-GA
  v

  Brian T. Dailey, P39945,

         Respondent.


                                 Discovery Demand
        As permitted by MCR 9.115(F)(4), Petitioner makes the following demand for

  discovery:

         1)    Copies of all documentary evidence to be introduced at the hearing, or

  access to such documentary evidence so that it can be inspected and copied, in

  accordance with MCR 9.11b(F)(4)(a); and,

        2)     The names and addresses of any persons to be called as witnesses at

 the hearing, in accordance with MCR 9.11b(F)(4)(aXi).

        under MCR 9.115(F)(4)(c), your failure to comply timely with the above

 demands may subject you to one or more of the sanctions set forth in MCR

 2.313(BX2)(a)-(c).

 Dated: October 7,2022                        /s/ Kenneth E. Frazee
                                              Kenneth E. Frazee, Pb1g0B
                                              Senior Associate Counsel
                                              Attorney Grievance Commission
                                              PNC Center
                                              755 W. Big Beaver, Suite 2100
                                              Troy, MI 48084
                                              (313) e61-6585




23-45970-mlo    Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00     Page 186 of 205
                          EXHIBIT “I”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 187 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 188 of 205
                          EXHIBIT “J”




23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 189 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 190 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 191 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 192 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 193 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 194 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 195 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 196 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 197 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 198 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 199 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 200 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 201 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 202 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 203 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 204 of 205
23-45970-mlo   Doc 70   Filed 08/03/23   Entered 08/03/23 09:24:00   Page 205 of 205
